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7
8                         UNITED STATES BANKRUPTCY COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10   In Re:                                        )     Case No.: 12-08679-PB11
                                                   )
11                                                 )
     Hortensia Carmona,                                  Chapter 11
                                                   )
12                                                 )
                    Debtor in Possession.                THIRD AMENDED DISCLOSURE
                                                   )     STATEMENT IN SUPPORT OF
13                                                 )     CHAPTER 11 PLAN DATED JULY 15,
                                                   )     2013, OF HORTENSIA CARMONA
14                                                 )
                                                   )
15                                                 )     Judge: Honorable Peter W. Bowie
                                                   )
16
     Prepared by:
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     On behalf of:
22   Hortensia Carmona
     Debtor and Debtor in Possession
23
24
25
26
27
28

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1                                                PART I
                                             INTRODUCTION
2
            On June 20, 2012, Hortensia Carmona, (the “Debtor”) filed a voluntary petition under
3
4    Chapter 11 of the United States Bankruptcy Code. The Debtor is an individual, doing business as a

5    sole proprietor. Debtor has been in the business of actively owning and renting real property. In
6
     addition to the ownership and management of her investment properties, Kaiser Permanente has
7
     employed Ms. Carmona for the past fourteen (14) years as an ultra sound technician. She continues
8
     her employment in the health care industry and Debtor owns investment real property in Texas,
9
10   California, and the Country of Mexico and derives income from the rents received there from. A

11   non-judicial foreclosure was begun against her investment real estate that necessitated Bankruptcy
12
     protection. A summary of the real property is listed below:
13
       Property Address                                            Classes   Debtor’s Intention
14
       20535 Kenwood Avenue, Torrance, CA                          1A, 1B    Retain
15     9853-9855 Arabian Nights Street, El Paso, TX                1C, 1D    Retain
16     9857-9859 Arabian Nights Street, El Paso, TX                1E        Retain
17     10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA       1F        Retain
       881 E. 41st Street, Los Angeles, CA                         1G        Retain
18
       1503 N. Frances Street, Terrell, TX                         1H        Retain
19     Vacant Land #3 – Mexico de Corte                            ---       Abandon
20     30 Manzana Punta Azul, Rosarito, BC                         ---       Abandon
21     Vacant Land Lot 13 Duchesne Mini Ranch, UT                  ---       Sell
       Vacant Land #2 - de Lote 8 Manzana 11 Valles de Mar,        ---       Abandon
22     Rosarito, BC
23     Vacant land - de Lote 9 Manzana 11 Valles Del Mar,          ---       Abandon
       Rosarito, BC
24     Calle 20 de Noviembre # 18, Ciudad Hidalgo House and        ---       Abandon
       Lot in Michoacán, Mexico
25     Calle Reforma #58, Ciudad Hidalgo House and Lot in          ---       Abandon
26     Michoacán, Mexico

27
28

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1           Chapter 11 allows the Debtor, and under some circumstances, creditors and others parties, to

2    propose a plan of reorganization (“Plan”). Debtor is the proponent of the plan dated July 15, 2013. A
3
     true copy of the Plan is attached to this Disclosure Statement as Exhibit A.
4
            The proposed distributions under the plan are discussed at pages 13 to 25 of this disclosure
5
     statement.   Administrative convenience claims are classified in Class 2A. General unsecured
6
7    creditors are classified in Class 2B, and will receive a distribution of 37% of their allowed claims

8    over time and without interest.
9
            A. The Purpose of the Disclosure Statement. Pursuant to §1125 of the Code, Debtor has
10
     prepared and filed this Disclosure Statement along with the Plan, for the Court’s conditional
11
     approval and submission to the holders of claims and interests. However, before an acceptance or
12
13   rejection of a plan may be solicited, the Court must find that the Disclosure Statement contains

14   “adequate information.”
15
            “Adequate Information” is defined in 11. U.S. C. §1125(a)(1) to mean information of a kind,
16
     and in sufficient detail, as far as is reasonably practicable in light of the nature and history of the
17
     debtor and the condition of the debtor’s books and records, that should enable a hypothetical
18
19   reasonable investor typical of the holders of claims or interests of the relevant class to make an

20   informed judgment about the plan. In re Metrocraft Publishing Serve, Inc., 39 B.R. 567 (Bankr. N.D.
21
     Ga. 1984)
22
     READ THIS DISCLOSURE STATEMENT CAREFULLY TO FIND OUT;
23
     (1)    WHO CAN VOTE OR OBJECT,
24
25   (2)    WHAT THE TREATMENT OF YOUR CLAIM IS, (i.e., if your claim is disputed and

26   what your claim will receive if the Plan is confirmed) AND HOW THIS TREATMENT
27
     COMPARES TO WHAT YOUR CLAIM WOULD RECEIVE IN LIQUIDATION,
28

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1    (3)    THE HISTORY OF THE DEBTOR AND SIGNIFICANT EVENTS DURING THE

2    BANKRUPTCY,
3
     (4)    WHAT THINGS THE COURT WILL LOOK AT TO DECIDE WHETHER OR NOT
4
     TO CONFIRM THE PLAN,
5
     (5)    WHAT IS THE EFFECT OF CONFIRMATION, AND
6
7    (6)    WHETHER THIS PLAN IS FEASIBLE

8           This Disclosure Statement cannot tell you everything about your rights. You should consider
9
     consulting your own lawyer to obtain more specific advice on how this Plan will affect you and what
10
     is the best course of action for you.
11
            Be sure to read the Plan as well as the Disclosure Statement. If there are any inconsistencies
12
13   between the Plan and Disclosure Statement, the Plan provisions will govern.

14                                         PART II
                                CONFIRMATION REQUIREMENTS;
15
                           VOTE REQUIRED FOR APPROVAL OF THE PLAN
16
            PERSONS OR ENTITIES CONCERNED WITH THE CONFIRMATION OF THIS PLAN
17
     SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON
18
19   CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX.

20          The following discussion is intended solely for the purpose of alerting readers about basic
21
     confirmation issues, which they may wish to consider, as well as certain deadlines for filing claims.
22
     The proponent CANNOT and DOES NOT represent that the discussion contained below is a
23
     complete summary of the law on this topic.
24
25
26
27
28

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1    A.     Who May Vote or Object

2    1.     Who May Object to Confirmation of the Plan
3
            Any party in interest may object to the confirmation of the Plan, but as explained below, not
4
     everyone is entitled to vote to accept or reject the Plan.
5
     2.     Who May Vote to Accept/Reject the Plan
6
7           Who may vote: Only impaired creditors are entitled to vote (see section 1124). A creditor is

8    entitled to vote on confirmation of the plan unless (i) the creditor’s class is unimpaired (presumed to
9
     accept the Plan) or is to receive no distribution (presumed to reject the plan); (ii) an objection has
10
     been filed to that creditors claim; (iii) that creditor's claim is scheduled by the debtor as contingent,
11
     disputed, unliquidated or unknown and the creditor has not filed a proof of claim; or (iv) that claim
12
13   is unclassified (and thus required by law to be paid in full). A creditor whose claim has either been

14   objected to or has been scheduled by Debtor as contingent, disputed, unliquidated or unknown or
15
     who has not filed a proof of claim, and who wishes to vote, must move to have its claim allowed for
16
     voting purposes by filing a motion for such relief in time for that motion to be heard before the
17
     hearing on confirmation of the plan. A creditor whose claim has been allowed in part as a secured
18
19   claim and in part as an unsecured claim is entitled to accept or reject a plan in each capacity by

20   delivering one ballot for the secured part of the claim and another ballot for the unsecured portion of
21
     the claim.
22
     a.     What is an Allowed Claim/Interest
23
            As noted above, a creditor or interest holder must first have an allowed claim or interest to
24
25   have the right to vote. Generally, any proof of claim or interest will be allowed, unless a party in

26   interest brings a motion objecting to the claim. When an objection to a claim or interest is filed, the
27
28

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1    creditor or interest holder holding the claim or interest cannot vote unless the Court, after notice and

2    hearing, either overrules the objection or allows the claim or interest for voting purposes.
3
             THE BAR DATE FOR FILING A PROOF OF CLAIM IN THIS CASE WAS
4
     SEPTEMBER 21, 2012. A creditor or interest holder may have an allowed claim or interest even if
5
     a proof of claim or interest was not timely filed. A claim is deemed allowed if (1) it is scheduled in
6
7    the Debtor’s schedules and such claim is not scheduled as disputed, contingent, or unliquidated, and

8    (2) no party in interest has objected to the claim. An interest is deemed allowed if it is scheduled and
9
     no party in interest has objected to the Interest.
10
     b.      What is an Impaired Claim/Interest
11
             As noted above, an allowed claim or interest only has the right to vote if it is in a class that is
12
13   impaired under the Plan. A class is impaired if the Plan alters the legal, equitable, or contractual

14   rights of the members of that class. For example, a class comprised of general unsecured claims is
15
     impaired if the Plan fails to pay the members of that class 100% of what they are owed on the
16
     effective date of the Plan.
17
             In this case, the Debtor believes that classes 1A, 1B, 1C, 1D, 1E, 1F, 1G, 1H, 2A, and 2B are
18
19   impaired and that all holders of claims in each of those three classes are therefore entitled to vote to

20   accept or reject the Plan. Parties who dispute the Debtor’s characterization of their claim or interest
21
     as being impaired or unimpaired may file an objection to the Plan contending that the Debtor has
22
     incorrectly characterized the class.
23
     3.      Votes Necessary to Confirm the Plan
24
25           If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one impaired

26   class has accepted the Plan without counting the votes of any insiders within that class, or (2) all
27
28

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1    impaired classes have voted to accept the Plan, unless the Plan is eligible to be confirmed by

2    “cramdown” on non-accepting classes, as discussed later in paragraph 6 of this Section.
3
     4.      Votes Necessary for a Class to accept the Plan
4
             A class of claims is considered to have accepted the Plan when more than one-half (1/2) in
5
     number and at least two-thirds (2/3) in dollar amount of the claims which actually voted, voted in
6
7    favor of the Plan. A class of interests is considered to have accepted the Plan when at least two-

8    thirds (2/3) in amount of the interest-holders of such class which actually voted, voted to accept the
9
     Plan.
10
     5.      Treatment of Nonaccepting Classes: Absolute Priority Rule
11
             As noted above, even if all impaired classes do not accept the Proposed Plan, the Court may
12
13   nevertheless confirm the Plan if the nonaccepting classes are treated in the manner required by the

14   Code. The process by which nonaccepting classes are forced to be bound by the terms of a Plan is
15
     commonly referred to as “cramdown.” The Code allows the Plan to be “crammed down” on
16
     nonaccepting classes of claims or interests if it meets all consensual requirements except the voting
17
     requirements of 1129(a)(8) and if the Plan does not “discriminate unfairly” and is “fair and
18
19   equitable” toward each impaired class that has not voted to accept the Plan as referred to in 11 U.S.C

20   §1129(b) and applicable case law.
21
             The Debtor is an individual. Other general unsecured creditors will be paid 37 cents on the
22
     dollar of their allowed claims without interest, in equal quarterly installments over five years. Under
23
     §1129(a)(15), if an unsecured creditor objects to confirmation, an individual debtor must either pay
24
25   the present value of that unsecured claim in full or make distributions under the plan totaling at least

26   the value of the Debtor’s net disposable income over the greater of (a) five years or (b) the period for
27
     which the plan provides payments. However, §1129(a)(15) should be read and applied in
28

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1    conjunction with §1123(a)(4) which provides that Chapter 11 plan must provide the same treatment

2    for each claim in the same particular class.
3
              a.     Secured Claims: There are three ways to satisfy the fair and equitable standard with
4
     respect to a dissenting class of secured claims. The first way is to provide the class members retain
5
     their security interests (whether the collateral is kept or is transferred by the Debtor) to the extent of
6
7    their allowed secured claims and to give each secured creditor in the class deferred cash payments

8    that aggregate to at least the amount of the allowed secured claim and which have a present value
9
     equal to the value of the collateral. This method of satisfying the fair and equitable standard may be
10
     complicated by the application of 11.U.S.C §1111(b)(2). The meaning of “allowed secured claim”
11
     as used in this paragraph will depend whether the secured creditor makes a §1111(b)(2) election to
12
13   be treated as fully secured despite the fact that the collateral may be worth less than the amount of

14   the claim. Pursuant to §1123(b)(5) a Plan may modify the rights of holders of secured claims other
15
     than a claim secured only by a security interest in real property that is the Debtor’s principal
16
     residence, or of holders of unsecured claims, or leave unaffected the rights of holders of any class of
17
     claim.
18
19            (1) Section 1111(b) (2) election; The §1111(b)(2) election converts the unsecured deficiency

20   claim into a claim secured by the collateral of the electing creditor. If a creditor so elects, the Debtor
21
     must treat the creditor’s entire claim as a secured claim and the Plan must provide for the creditor to
22
     receive, on account of its claim, payments, either present or deferred, of a principal face amount
23
     equal to the amount of the claim and of a present amount equal to the value of the collateral.
24
25            A second alternative for complying with the fair and equitable standard with respect to a

26   class of dissenting secured creditors is for the plan to provide for the realization of the “indubitable
27
     equivalent” of their secured claims.
28

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1    The third alternative for satisfying the fair and equitable standard is to provide in the Plan for the

2    sale of the collateral free and clear of liens, with the liens to attach to the sale proceeds.
3
             b.      Unsecured Claims; There are two ways of satisfying the fair and equitable standard
4
     with respect to a dissenting class of unsecured claims. The first way is for the plan to be approved
5
     for distributions to the dissenting class worth the full amount of their allowed claims. The allowed
6
7    claims need not be paid in full on the effective date of the plan. If the plan provides for deferred

8    payments, an appropriate interest rate must be used so that the present value of deferred payments
9
     equals the full amount of the allowed unsecured claims of the dissenting class.
10
             The second way to satisfy the fair and equitable test with respect to the dissenting class of
11
     unsecured creditors is for the plan to provide that all claims that are junior to the dissenting class do
12
13   not receive or retain any property on account of their claims or interests. Accordingly, if a dissenting

14   unsecured creditor class is to receive property worth only one-half of its allowed claims, the plan
15
     may still be fair and equitable if all junior classes are to receive or retain nothing and if no senior
16
     class is to receive more than 100% of its allowed claims.
17
             The Debtor is an individual. Pursuant to Section 1129(a)(15) the Court shall confirm a plan
18
19   only if the holder of an allowed unsecured claim objects to the confirmation of the plan the value, as

20   of the effective date of the plan, of the property to be distributed under the plan on account of such
21
     claim is not less than the amount of such claim; or the value of the property to be distributed under
22
     the plan is not less than the projected disposable income of the debtors to be received during the 5-
23
     year period beginning on the date that the first payment is due under the plan, or during the period
24
25   for which the plan provides payments, whichever is longer.

26           In, In re Karlovich, this court held that the absolute priority rule applies to individual debtors.
27
     The Debtor contends that it is not a violation of the Absolute Priority Rule since distribution under
28

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1    the plan is not less than the projected disposable income of the debtor to be received during the 5-

2    year period beginning on the date that the first payment is due under the plan. (The unsecured
3
     Creditors will receive 37 cents on the dollar on their claims. Since this is a consensual plan, Debtor
4
     asserts that the Absolute Priority Rule will not be at issue in this Plan.)
5
            In the event an unsecured creditor objects to Plan confirmation based upon 11 U.S.C.
6
7    §1129(b)(2)(B) [the "Absolute Priority Rule"], the Debtor retains the right to make a new value

8    contribution, subject to allowing exclusivity to expire or allowing an auction for the right to control
9
     the objecting secured creditor's collateral.
10
     6.     Request for Confirmation Despite Nonacceptance by Impaired Class(es)
11
            The Debtor’s Plan, pursuant to Section 1123(b) of the Bankruptcy Code, provides for the
12
13   revaluation of the Debtor’s real properties (with the exception of the primary residence) in

14   accordance with each property's current market value immediately prior to final confirmation of the
15
     Plan. If you are a secured creditor, your secured claim may be reduced in accordance with Section
16
     506(a) of the Bankruptcy Code, as of the effective date of the Plan. If you disagree with the
17
     revaluation or the appraised amounts, you should object to the Plan.
18
19                                              PART III
                                        DESCRIPTION OF THE PLAN
20
     A.     What Creditors and Interest Holders will Receive Under the Proposed Plan
21
22          As required by the Bankruptcy Code, The Plan classifies claims and interests in various

23   classes according to their right to priority. The plan states whether each class of claims or interests is
24
     impaired or unimpaired. The Plan provides the treatment each class will receive.
25
     B.     Unclassified Claims
26
            Certain types of claims are not placed into voting classes, instead they are unclassified. They
27
28   are not considered impaired and can’t vote on the Plan because they are automatically entitled to

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1    specific treatment provided for them in the Bankruptcy Code. As such, the proponent has not placed

2    the following claims in a class:
3
     1.     Administrative Expenses
4
            Administrative expenses are claims for costs or expenses of administering the Debtor’s
5
     Chapter 11 case, which are allowed under Code §507(a)(1). The Code requires that all
6
7    administrative claims be paid on the Effective date of the Plan, unless a particular claimant agrees to

8    a different treatment.
9
            The following chart lists all of Debtor’s §507(a)(1) administrative claims and their treatment
10
     under the Plan:
11
     Name                                      Amount Owed         Treatment
12
     Law Office of Andrew H. Griffin, III      $15,000.00          Paid in full on the effective date of the
13                                                                 Plan, or according to separate written
                                                                   agreement, or according to court order
14                                                                 if such fees have not been approved by
                                                                   the Court on the effective date of the
15
                                                                   Plan
16   Clerk’s Office Fees                       $0                  Paid in full on effective date.
     Office of the U. S. Trustee               $650.00             Paid in full on effective date.
17
     TOTAL                                     $15,650.00
18
19   2.     Court Approval of Fees Required:

20          With the exception of the Clerk and the Office of the U.S. Trustee, the Court must rule on all

21   fees listed in this chart before the fees will be owed. The professional in question must file and serve
22
     a properly noticed fee application and the Court must rule on the application. Only the amount of
23
     fees allowed by the Court will be owed and required to be paid under this Plan.
24
            As indicated above, the Debtor will need to pay $15,650.00 worth of administrative claims
25
26   on the Effective Date of the Plan unless the claimant has agreed to be paid later or the Court has not

27   yet ruled on the claim. As indicated elsewhere in this Disclosure Statement, Debtor will have
28

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1    $35,369.00 on hand on the Effective Date of the Plan. The source of this cash will be from rents

2    collected from Debtor’s real property.
3
     3.     Priority Tax Claims
4
            Priority tax claims include certain unsecured income, employment and other taxes described
5
     by code § 507(a)(8). Debtor believes there are no Unsecured Priority Tax Claims, Classified Claims
6
7    and Interests. Debtor is current on Post-Petition Taxes.

8    C.     Classified Claims and Interests
9
     1.     Classes of Secured Claims
10
            Secured Claims are claims secured by liens on property of the estate. The following charts
11
     list all classes containing Debtor’s secured pre-petition claims and their treatment under the Plan.
12
13   CLASS #1A         DESCRIPTION            INSIDERS          IMPAIRED            TREATMENT
                                              (Y/N)             (Y/N)
14   Secured Claim                            N                 Y                   To be treated as
     of Bank of                                                                     partially secured in the
15
     America, N.A.                                                                  amount of $275,000.00
16                                                                                  The unsecured amount
                                                                                    shall be treated in Class
17                                                                                  2B.
18   Collateral        20535 Kenwood                                                $1,353.00 Monthly
     Description       Avenue,                                                      (Secured claim)
19                     Torrance, CA                                                 Unsecured portion
                                                                                    treated in Class 2B.
20   Collateral        $275,000.00                                                  Begin Date: Fifth day
21   Value                                                                          the month starting the
                                                                                    first month after the
22                                                                                  effective date.
     Priority of       First Deed of                                                End Date: 30 years
23   Security          Trust                                                        from effective date
24   Principal         $365,261.70                                                  Balloon (Y/N) N
     Pre-Petition      $0                                                           Interest Rate 4.25%
25   Arrearage
     Post-Petition     $0                                                           Total Payout
26   Arrearage                                                                      $275,00.00 plus
27   Amount                                                                         4.25% per annum.
     Total Claim       $275,000.00                                                  Retain and reaffirm
28   Amount            Secured                                                      pursuant to

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1                       $90,261.70                                                  Modification
                        Unsecured treated                                           agreement.
2                       in Class 2B.
3
            Debtor contends that the value of the collateral is less than the amount of the claim. On
4
     December 13, 2012, the Court entered an Order on Motion to Value the real property. (Docket No.
5
6    155) valuing the property in the amount of $275,000.00. Debtor will pay as a secured claim the

7    amount equal to the value of the collateral that is $275,000.00. Debtor will pay the above secured
8    claim in full with interest from the Effective Date of the Plan through 360 equal monthly payments.
9
     Payments will be due on the Fifth day of the month, starting the first month after the effective date.
10
     The remaining amount due of $90,261.70 is a general unsecured claim treated in Class 2B. The
11
12   Creditor in this class shall retain its interest in the collateral until Debtor makes all payments under

13   the plan and Debtor receives a discharge.

14          The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is
15
     not in material default under the Plan. This secured claim is impaired and is entitled to vote on
16
     confirmation of the Plan.
17
18   CLASS #1B           DESCRIPTION             INSIDERS        IMPAIRED             TREATMENT
                                                 (Y/N)           (Y/N)
19   Secured Claim of                            N               Y                    To be treated as
     The Bank of                                                                      partially secured in
20   America                                                                          the amount of
21                                                                                    $75,000.00. The
                                                                                      unsecured amount
22                                                                                    shall be treated in
                                                                                      Class 2B.
23   Collateral          9853-9855 Arabian                                            $369.00 Monthly
24   Description         Nights Street, El                                            (Secured claim)
                         Paso, TX                                                     Unsecured portion
25                                                                                    treated in Class 2B.
     Collateral Value    $75,000.00                                                   Begin Date: On
26                                                                                    Effective Date
27   Priority of         First Deed of                                                End Date 30 years
     Security            Trust                                                        from effective date
28   Principal Owed      $102,411.67                                                  Balloon (Y/N) N

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1    Pre-Petition       $7,148.22                                                   Interest Rate: 4.25%
     Arrearage
2    Amount
3    Post-Petition      $0                                                          Total Payout:
     Arrearage                                                                      $75,000.00 plus
4    Amount                                                                         interest at 4.25% per
                                                                                    annum
5    Total Claim        $102,411.67
6    Amount             $75,000.00 Secured
     (Claim #10)        amount
7                       $27,411.61
                        Unsecured amount
8                       treated in Class 2B.
9
            Debtor contends that the value of the collateral is less than the amount of the claim. On
10
     March 13, 2013, the Court entered an Order to Value the real property in the amount of $75,000.00
11
12   (Docket No. 189). Debtor will pay as a secured claim the amount equal to the value of the collateral

13   that is $75,000.00. Debtor will pay the above secured claim in full with interest from the Effective
14   Date of the Plan through 360 equal monthly payments. Payments will be due on the Fifth day of the
15
     month, starting the first month after the effective date. The remaining amount due of $27,411.61 is a
16
     general unsecured claim treated in Class 2B. The Creditor in this classes shall retain its interest in
17
18   the collateral until Debtor makes all payments under the plan and Debtor receives a discharge.

19          The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is
20   not in material default under the Plan. This secured claim is impaired and is entitled to vote on
21
     confirmation of the Plan.
22
     CLASS #1C          DESCRIPTION            INSIDERS         IMPAIRED            TREATMENT
23                                             (Y/N)            (Y/N)
24   Secured Claim of                          N                Y                   Debtor intends to
     Bank of New                                                                    have this class treated
25   York Mellon                                                                    as wholly unsecured.
26   Collateral         9853-9855                                                   The unsecured
     Description        Arabian Nights                                              amount shall be
27                      Street, El Paso,                                            treated in Class 2B.
                        TX
28   Collateral Value   $75,000.00

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1    Priority of        Second Deed of
     Security           Trust
2    Principal Owed     $11,208.59                                                   Balloon (Y/N) N
3    Pre-Petition       $1,325.61
     Arrearage
4    Amount
     Post-Petition      $0
5    Arrearage
6    Amount
     Total Claim        $11,208.59                                                   Treated as unsecured
7    Amount                                                                          in Class 2B.
     (Claim #8)
8
9           The claims will be treated as wholly unsecured in the amount of $11,208.59 and treated in

10   Class 2B. On March 13, 2013, the Court entered an Order to Value the real property in the amount
11   of $75,000.00 (Docket No. 189). The secured amount of the above creditor’s claims is set at zero.
12
     Debtor will pay nothing to this creditor as a secured claim. The claim of a creditor whose lien is
13
     stripped is a general unsecured claim treated in Class 2B.
14
15          The Creditor in this class may not repossess or dispose of their collateral so long as Debtor is

16   not in material default under the Plan. This secured claim is impaired and is entitled to vote on
17   confirmation of the Plan.
18
     CLASS #1D            DESCRIPTION           INSIDERS          IMPAIRED           TREATMENT
19                                              (Y/N)             (Y/N)
     Secured Claim of                           N                 Y                  To be treated as
20   Bank of                                                                         partially secured in
21   America, N.A.                                                                   the amount of
                                                                                     $101,500.00. The
22                                                                                   unsecured amount
                                                                                     shall be treated in
23                                                                                   Class 2B.
24   Collateral           9857-9859                                                  $502.00 Monthly
     Description          Arabian Nights
25                        Street, El Paso,
                          TX
26
     Collateral Value     $101,500.00 (by                                            Begin Date: On
27                        stipulation)                                               Effective Date.
     Priority of          Home Equity                                                End Date: 30 years
28   Security             Line of Credit                                             from effective date

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1    Principal Owed       $104,507.56                                              Balloon (Y/N) N
     Pre-Petition         $9,957.53                                                Interest Rate 4.3%
2    Arrearage Amt
3    Post-Petition        $0                                                       Total Payout
     Arrearage                                                                     $101,500.00 plus
4    Amount                                                                        interest at 4.3% per
                                                                                   annum.
5    Total Claim          $104,507.56                                              Partially secured and
6    Amount               $101,500.00                                              partially unsecured.
     (Claim #6)           Secured amount
7                         $3,007.56
                          Unsecured amount
8                         treated in Class 2B.
9
            The Bank of America, N.A., and the Debtor have entered into an agreement which terms are
10
     fully incorporated into the plan and confirmed by Court Order. (Docket No. 160) The significant
11
12   terms are that the Lender shall have a secured claim in the amount of $101,500.00 (the “Secured

13   Claim”) and an unsecured claim in the amount of $3,007.56 (the “Unsecured Claim”) in the Debtor’s
14   Chapter 11 Plan of Reorganization (the “Plan”). The Secured Claim shall be amortized at 4.3% per
15
     annum for 30 years at a monthly principal and interest payment of $502.00. The Lender will also
16
     impound the account for property taxes and insurance. The debtor seeks to fully incorporate the
17
18   entire agreement into the plan. Debtor will seek the Court’s ratification of the agreement as part of

19   the confirmation of the plan.
20          Debtor seeks to value the real property in the amount of $101,500.00. Debtor seeks to have
21
     claim treated as partially secured in the amount of $101,500.00 and the unsecured amount of
22
     $3,007.56 treated in Class 2B as an unsecured claim.
23
24   CLASS #1E            DESCRIPTION             INSIDERS       IMPAIRED          TREATMENT
                                                  (Y/N)          (Y/N)
25   Secured Claim of                             N              Y                 Debtor intends to
     The Bank of New                                                               have this class treated
26   York Mellon fka                                                               as wholly unsecured.
27   The Bank of New
     York
28   Collateral       9857-9859 Arabian                                            To be treated as

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1    Description          Nights Street, El                                          wholly unsecured and
                          Paso, TX                                                   treated in Class 2B.
2    Collateral Value     $101,500.00                                                Balloon (Y/N) N
3    Priority of          Second Deed of
     Security             Trust
4    Principal Owed       $6,940.83
     Pre-Petition         $1,525.81
5    Arrearage Amt
6    Post-Petition        $0
     Arrearage Amt
7    Total Claim          $8,466.64                                                  Wholly unsecured.
     Amount
8    (Claim #9)
9
                     The claim will be treated as wholly unsecured and paid in Class 2B.
10
            On December 17, 2012, the Court entered an Order on Motion to Value the real property.
11
12   (Docket No. 160) valuing the property in the amount of $101,500.00. Prior to confirmation, Debtor

13   will obtain an order or stipulation fixing the secured amount of the above creditor’s claims at zero.
14
     Debtor will pay nothing to this creditor as a secured claim. The claim of a creditor whose lien is
15
     stripped is a general unsecured claim treated in Class 2B.
16
            The Creditor in this class may not repossess or dispose of their collateral so long as Debtor is
17
18   not in material default under the Plan. This secured claim is impaired and is entitled to vote on

19   confirmation of the Plan.
20
     CLASS     #1F       DESCRIPTION           INSIDERS           IMPAIRED           TREATMENT
21                                             (Y/N)              (Y/N)
     Secured Claim                             N                  Y                  Partially secured in
22   of Wells Fargo                                                                  the amount of
     Bank, N.A.                                                                      $34,500.00.
23
                                                                                     Unsecured to be
24                                                                                   treated in Class 2.
     Collateral          1503 N. Frances                                             $195.19 Monthly
25   Description         St, Terrell, TX
     Collateral Value    $34,500.00                                                  Begin Date: On the
26
                                                                                     fifth day of the month
27                                                                                   starting the first
                                                                                     month after Effective
28                                                                                   Date.

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1    Priority of        First Deed of                                              End Date: Thirty (30)
     Security           Trust                                                      years
2    Principal Owed     $47,932.74                                                 Balloon (Y/N) N
3    Pre-Petition                                                                  Interest Rate 4.75%
     Arrearage Amt
4    Post-Petition      $0                                                         Total Payout:
     Arrearage                                                                     $34,500.00 plus
5    Amount                                                                        interest at 4.25% per
6                                                                                  annum
     Total Claim        $47,932.74                                                 Debtor shall pay to
7    Amount                                                                        creditor an impound
     (Claim #7)                                                                    to include taxes and
8                                                                                  insurance.
9
     THE PARTIES STIPULATE AS FOLLOWS:
10
            1.     Creditor shall have a secured claim in the amount of $37,418.44 to be amortized over
11
12   30 years at a fixed interest rate of 4.75% per annum (the "Secured Claim").

13          2.     Creditor shall have an unsecured claim in the amount of $12,023.30 (the “Unsecured
14   Claim”). Creditor shall receive, in full and final satisfaction of its Unsecured Claim, its pro rata
15
     share of the dividend issued to general unsecured creditors under Debtor’s Chapter 11 Plan, as
16
     amended.
17
18          3.     Debtor shall tender regular monthly payments of principal and interest to Creditor

19   (and/or its servicer) in the amount of $195.19 on the first day of each month for the Secured Claim
20   commencing on October 1, 2013 and continuing on the first day of each month thereafter until
21
     September 1, 2043 when all outstanding amounts due under the Secured Claim are to be paid in full.
22
            4.     In addition to the principal and interest payment described in paragraph 3 of this
23
24   Stipulation, Debtor shall tender to Creditor (and/or its servicer) all necessary escrow payments for

25   any and all real property taxes and/or real property insurance advances as required by Creditor
26   (and/or its servicer) and in accordance with any requirements under the Deed of Trust. Debtor shall
27
     tender the necessary escrow payments together with the regular monthly mortgage payments
28

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1    described in paragraph 3 above, commencing on October 1, 2013 and continuing on the first day of

2    each month thereafter until September 1, 2043 at which time the Secured Claim and any related
3
     escrow charges must be paid in full. The current amount of the escrow payment is $284.87;
4
     however, Debtor understands the amount of this payment is subject to change.
5
            5.      In the event of any default on any of the provisions of this Stipulation, Creditor shall
6
7    provide written notice, via certified mail, to Debtor at the Subject Property and to Debtor’s attorneys

8    of record, provided the Debtor’s bankruptcy remains active, indicating the nature of default. If
9
     Debtor fails to cure the default or payment default with certified funds after passage of thirty (30)
10
     calendar days from the date said written notice is placed in the mail as reflected on the certified
11
     receipt, then the Automatic Stay shall terminate, unless it has already been terminated by operation
12
13   of law, and Creditor (and/or its servicer) may proceed to foreclose its security interest in the Subject

14   Property under the terms of the Note and Deed of Trust and pursuant to applicable state law and
15
     thereafter commence any action necessary to obtain complete possession of the Subject Property,
16
     including unlawful detainer, without further notice, order, or proceeding of this Court.
17
            6.      The acceptance by Creditor (and/or its servicer) of a late or partial payment shall not
18
19   act as a waiver of Creditor’s right to proceed hereunder.

20          7.      Except as otherwise expressly provided herein, all remaining terms of the Note and
21
     Deed of Trust, which are incorporated herein by this reference, shall govern the treatment of
22
     Creditor’s Secured Claim.
23
            8.      In the event that Creditor is granted relief from the automatic stay, the parties hereby
24
25   stipulate that the 14-day stay provided by Bankruptcy Rule 4001(a)(3) is waived.

26          9.      In the event the Debtor defaults under this Stipulation and Creditor (and/or its
27
     servicer) forwards a 30-day default letter to Debtor, Debtor shall be required to tender Creditor’s
28

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1    reasonable attorneys’ fees and costs for each default letter submitted, in addition to the default stated

2    therein, in order to cure the default. Any notice of default that Creditor (and/or its servicer) provides
3
     Debtor and/or Debtor’s attorneys pursuant to this Stipulation shall not be construed as a
4
     communication under the Fair Debt Collection Practices Act, 15 U.S.C. §1692.
5
              10.   At the request of the Creditor (and/or its servicer), Debtor shall execute such
6
7    documents and instruments as required by Creditor (and/or its servicer) to reflect the Debtor as the

8    borrower of the Secured Claim, and to modify the terms of the Loan obligation to conform to the
9
     provisions of this Stipulation, as Creditor (and/or its servicer) deems necessary.
10
              11.   In the event the Debtor seeks to sell the Subject Property at anytime prior to
11
     confirming her Chapter 11 Plan, as amended, or if she seeks to sell the Subject Property through her
12
13   Chapter 11 Plan, Creditor shall be entitled to credit bid at any such sale in an amount not less than

14   the unmodified, original outstanding balance owing under the terms of the Note and Deed of Trust
15
     and/or exercise any of its rights pursuant to 11 U.S.C. §§ 363(b), (f) and (k) as applicable, and shall
16
     be permitted to receive proceeds from the sale of the Subject Property in an amount not less than the
17
     unmodified, original outstanding balance owing under the terms of the Note and Deed of Trust at the
18
19   time of said sale, with Creditor’s lien attaching to said proceeds in the same priority as its Deed of

20   Trust.
21
              12.   In the event the Debtor seeks to sell the Subject Property at anytime after her Plan is
22
     confirmed, but prior to the substantial consummation of the Debtor’s Chapter 11 Plan and receipt of
23
     a Chapter 11 discharge, Creditor (and/or its servicer) shall not be required to remove its lien
24
25   encumbering the Subject Property unless it receives proceeds from the sale of the Subject Property

26   in an amount not less than the unmodified, original outstanding balance owing under the terms of the
27
     Note and Deed of Trust. If the proposed sale of the Subject Property is for less than the unmodified,
28

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1    outstanding balance owing under the Note and Deed of Trust, then Creditor's consent must be

2    obtained in writing prior to any such sale. In the event the Debtor seeks to sell the Subject Property
3
     after substantial consummation of Debtor’s Chapter 11 Plan and receipt of a Chapter 11 discharge,
4
     the foregoing requirements of this paragraph 12 shall no longer apply; however, in no event shall the
5
     sale of the Subject Property be for less than Creditor’s Secured Claim.
6
7             13.   The terms of this Stipulation may not be modified, altered, or changed by the

8    Debtor’s Chapter 11 Plan; any subsequently filed amended or modified Chapter 11 Plan of
9
     Reorganization or any order on the foregoing without the express written consent of the Creditor.
10
     The above terms of this Stipulation shall be incorporated into the Debtor’s Chapter 11 Plan and/or
11
     any subsequently filed amended or modified Chapter 11 Plan and confirmation order thereon. In the
12
13   event of a conflict between the terms or provisions of this Stipulation and Debtor’s Chapter 11 Plan

14   or any amendments or modifications thereto, the terms of this Stipulation shall control.
15
              14.   The terms of this Stipulation are contingent upon the substantial consummation of the
16
     Debtor’s confirmed Plan and receipt of a Chapter 11 discharge. In the event the Debtor defaults
17
     under the terms of this Stipulation or fails to complete Plan payments prior to receipt of a discharge,
18
19   the provisions of this Stipulation shall be void.

20            15.   In the event Debtor’s case is dismissed or converted to any other chapter under Title
21
     11 of the United States Bankruptcy Code, Creditor shall retain its lien in the full, unmodified amount
22
     due under the Note and Deed of Trust, and the Automatic Stay shall be terminated without further
23
     notice, order or proceeding of the Court.
24
25            16.   In exchange for the forgoing, Creditor shall provide a ballot voting in favor of the

26   Debtor’s Chapter 11 Plan of Reorganization, as amended, for the Secured Claim and the Unsecured
27
     Claim.
28

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1           The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is

2    not in material default under the Plan. This secured claim is impaired and is entitled to vote on
3
     confirmation of the Plan.
4
     CLASS #1G          DESCRIPTION            INSIDERS        IMPAIRED            TREATMENT
5                                              (Y/N)           (Y/N)
6    Secured Claim                             N               Y                   To be treated
     of OneWest                                                                    partially secured in
7    Bank, FSB                                                                     the amount of
                                                                                   $275,000.00. The
8                                                                                  unsecured amount
9                                                                                  shall treated in Class
                                                                                   2B.
10   Collateral         881 E. 41st                                                $1,237.00 Monthly
     Description        Street, Los
11                      Angeles, CA
12   Collateral Value   $275,000.00                                                Begin Date: On the
                                                                                   fifth day of the month
13                                                                                 starting the first
                                                                                   month after Effective
14                                                                                 Date.
15   Priority of        First Deed of                                              End Date: Thirty (30)
     Security           Trust                                                      years from effective
16                                                                                 date.
     Principal Owed     $484,590.49                                                Balloon (Y/N) N
17   Pre-Petition       $-0-                                                       Interest Rate 4.3%
18   Arrearage
     Amount
19   Post-Petition      $0                                                         Total Payout
     Arrearage                                                                     $275,00.00 plus
20   Amount                                                                        interest at 4.3% per
21                                                                                 annum.
     Total Claim        $484,590.49
22   Amount             Secured amount
                        $275,000.00
23
                        Unsecured
24                      amount
                        $209,590.49
25
            Debtor contends that the value of the collateral is less than the amount of the claim. On
26
27   December 13, 2012, the Court entered an Order on Motion to Value the real property. (Docket No.

28   155) valuing the property in the amount of $275,000.00. Debtor will pay as a secured claim the

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1    amount equal to the value of the collateral that is $275,000.00. Debtor will pay the above secured

2    claim in full with interest from the Effective Date of the Plan through 360 equal monthly payments.
3
     Payments will be due on the Fifth day of the month, starting the first month after the effective date.
4
     The remaining amount due of $209,590.49 is a general unsecured claim treated in Class 2B. The
5
     Creditor in this class shall retain its interest in the collateral until Debtor makes all payments under
6
7    the plan and Debtor receives a discharge.

8           The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is
9
     not in material default under the Plan. This secured claim is impaired and is entitled to vote on
10
     confirmation of the Plan.
11
     CLASS #1H           DESCRIPTION             INSIDERS        IMPAIRED            TREATMENT
12
                                                 (Y/N)           (Y/N)
13   Secured Claim of                            N               Y                   Retain and Affirm
     Bayview Loan                                                                    Loan Adjustment
14   Servicing, LLC                                                                  agreement dated
                                                                                     12/20/12.
15
     Collateral          10113, 10113 ½,                                             Total Monthly
16   Description         10115 S. Main                                               Payment $1,307.64
                         Street, Los                                                 ($895.73 Principal and
17                       Angeles, CA                                                 interest Escrow
18                                                                                   $411.91)
     Collateral Value    $220,000.00                                                 Begin Date: 11/1/12
19   Priority of         First Deed of                                               End Date: March 1,
     Security            Trust                                                       2038
20   Principal Owed      $215,218.97                                                 Balloon (Y/N) N
21   Pre-Petition        $-0-                                                        Interest Rate 2.00% to
     Arrearage                                                                       6.00%
22   Amount
     Post-Petition       $0                                                          Total Payout
23   Arrearage                                                                       $215,218.97 plus
24   Amount                                                                          Interest in accordance
                                                                                     with note.
25   Total Claim         $215,218.97                                                 Retain and reaffirm
     Amount
26   (Claim #12)
27
            Debtor seeks to have the loan Modification to become fully incorporated into the plan. An
28

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1    application to approve the loan modification was filed with the Court (See Docket No. 167).

2    The significant terms are noted below. Debtor will seek the Court’s ratification of the entire loan
3
     modification and fully incorporate the terms of the loan modification as part of the confirmation of
4
     the plan.
5
6                         Years               Interest Rate         Total P&I Payment
                    11-1-12 – 11-1-14            2.000%                    $895.73
7                                                                 Not to exceed 6% and 1%
                   11/1/14 to Maturity          Per Note
8                                                                    increase each year
     Property to be Abandoned.
9
10    Class      Name of Creditor                          Description of Property
11    ---        No Secured Creditor Exists                Vacant Land #3 – Mexico de Corte
12    ---        No Secured Creditor Exists                30 Manzana Punta Azul, Rosarito, BC
13    ---        No Secured Creditor Exists                Vacant Land #2 - de Lote 8 Manzana 11
                                                           Valles de Mar, Rosarito, BC
14
      ---        No Secured Creditor Exists                Vacant land - de Lote 9 Manzana 11 Valles
15                                                         Del Mar, Rosarito, BC
16    ---        No Secured Creditor Exists                Calle 20 de Noviembre # 18, Ciudad Hidalgo
                                                           House and Lot in Michoacán, Mexico
17
18            Debtor will abandon the above Mexican Properties by means of a Quitclaim Deed (Escritura

19   de Renuncia de derechos) to the taxing authorities on the Effective Date of the Plan.                The
20   confirmation order will constitute an order for relief from stay as of the Effective Date of the Plan.
21
     Although Debtor asserts that there are no secured creditors, any secured claim is satisfied in full
22
     through the surrender of the collateral. Any deficiency claim is a general unsecured claim treated in
23
24   Class 2B. Creditors in these classes shall retain their interest in the collateral.

25   Property to be Sold.
26
      Class       Name of Creditor            Property                        Value of Collateral
27
      ----        No Secured Creditor         Vacant Land Lot 13              $13,500.00
28                Exists                      Duchesne Mini Ranch, UT

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1
              Debtor will sell the above Real Property by October 1, 2013, paying unsecured creditors
2
     from the proceeds of the sale. An Order employing Freedom Realty Corp., a real estate broker, was
3
4    on June 27, 2012. Although Debtor asserts that there are no liens against the Real Property, Debtor

5    will file a motion for approval of any such sale on 28 days notice to any lien holders.               No
6
     commissions will be paid to the real estate broker without Court approval. Unless the Court orders
7
     otherwise, a lienholder whose lien is not in bona fide dispute may credit bid the amount of its lien at
8
     the sale. Any deficiency claim is a general unsecured claim treated in Section 2B.
9
10   Class 2A. Administrative Convenience Claims.

11
      Name of Creditor              Amount of Claim             Amount to be Paid             (%) to be Paid
12
      Capital One, N.A.             $663.00                     $245.31                       37%
13    c/o Creditors Bankruptcy

14    Kohl’s                        $691.00                     $255.67                       37%
      Target National Bank          $93.00                      $34.41                        37%
15
      Asset Acceptance LLC          $117.00                     $43.29                        37%
16
      Discover Bank                 $450.00                     $166.50                       37%
17    DB Servicing Corporation
      (Claim 2)
18
      FIA Card Services, N.A.       $525.78                     $194.54                       37%
19    (Claim 3)
20    Total                         $2,539.78                   $939.72                       37%
21
              This class includes any creditor whose allowed claim is One Thousand dollars [$1,000.00] or
22
     less, and any creditor in Class 2B whose allowed claim is larger than One Thousand dollars
23
24   [$1,000.00] but agrees to reduce its claim to One Thousand dollars [$1,000.00]. Each creditor will

25   receive on the Effective Date of the Plan a single payment equal to 37% of its allowed claim.
26            Creditors in this class may not take any collection action against Debtor so long as Debtor is
27
     not in material default under the Plan. Claimants in this class are impaired and are entitled to
28

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1    vote on confirmation of the Plan, unless their claims are paid in full with interest on the

2    Effective Date of the Plan.
3
     2. Class of General Unsecured Claims
4
            General unsecured claims are unsecured claims not entitled to priority under Code §507(a).
5
     The following chart identifies the Plan’s treatment of the class containing all of Debtor’s general
6
7    unsecured claims.

8    CLASS #2B                      Claim Amount             IMPAIRED      TREATMENT
     General Unsecured Claim                                 (Y/N)         Payment Interval
9
                                                                           Quarterly
10   DESCRIPTION
     Macy’s                         $2,817.00                Y             $52.11 Quarterly
11                                                                         Total Payout $1,042.29
12   Chase Bank                     $4,300.00                Y             $79.55 Quarterly
                                                                           Total Payout $1,591.00
13   Wells Fargo Card Services      $6,825.82                Y             $126.28 Quarterly
     (Claim 1)                                                             Total Payout $2,525.55
14   American Express Bank,         $1,002.92                Y             $18.55 Quarterly
15   FSB                                                                   Total Payout $371.08
     (Claim 4)
16   OneWest Bank, FSB              $209,590.49              Y             $3,877.42 Quarterly
     (Unsecured Claim of Class                                             Total Payout $77,548.48
17   1G)
18   Wells Fargo Bank               $13,432.74               Y             $248.51 Quarterly
     (Unsecured Claim of Class                                             Total Payout $4,970.11
19   1F - Claim 7)
     Bank of New York Mellon        $8,466.64                Y             $156.63 Quarterly
20   (Unsecured Claim of Class                                             Total Payout $3,132.66
21   1E - Claim 9)
     Bank of America                $3,007.56                Y             $55.64 Quarterly
22   (Unsecured Claim of Class                                             Total Payout $1,112.80
     1D - Claim 6)
23
     Bank of America                $11,208.59               Y             $207.36 Quarterly
24   (Unsecured Claim of Class                                             Total Payout $4,147.18
     1C - Claim 8)
25   The Bank of America            $27,411.67               Y             $507.12 Quarterly
     (Unsecured Claim of Class                                             Total Payout $10,142.32
26
     1B - Claim 10)
27   Bank of America                $90,269.70               Y             $1,669.99 Quarterly
     (Unsecured Claim of Class                                             Total Payout $33,399.79
28   1A)

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1
2    Amount Class 2A Small Claims                                             $2,539.78
3    Amount Class 2B General Unsecured                                        $378,333.13
     Total Unsecured                                                          $380,872.91
4
                                                                         Estimated Payment
5                                                                        $7,046.15
6                                                                        Amount/Quarterly

7                                                                        Balloon (Y/N) N
8                                                                        Begin Date: On the fifth day of
9                                                                        the month starting the first month
                                                                         after Effective Date
10                                                                       End Date: December 1, 2018
11                                                                       Total payout $140,922.98
12
                                                                         Total Payout 37%
13
            Creditors will receive quarterly payments described above. The estate Real Properties have
14
15   deferred maintenance, but after loan modifications and creditor negotiations they generate sufficient

16   cash flow to pay the debt service and property improvement. Debtor has budgeted $4,458.52 for
17   unexpected emergencies, capital improvements, repairs and/or vacancies each month which will be
18
     used towards the payment of Class 2B claims once a reserve of $30,000.00 is attained. In addition to
19
     the payments as set forth above, unsecured creditors in Class 2B will receive a pro-rata share of such
20
21   excess of the excess over thirty thousand ($30,000.00) dollars. Debtor shall segregate funds that

22   exceed the $30,000.00 reserve in a separate account and shall distribute funds (when $15,000.00 has
23   been accumulated) to the unsecured creditors in Class 2B. Pro-rata means the entire amount of the
24
     excess divided by the entire amount owed to creditors with allowed claims in this class.
25
            In addition, the unsecured creditors in Class 2B shall receive a pro-rata share of the net sales
26
27   proceeds from the sale of the real property Vacant Land Lot 13 in Duchesne Mini Ranch, UT. Pro-

28   rata means the entire amount of the net sales proceeds divided by the entire amount owed to

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1    creditors with allowed claims in this class. The estimated net sales proceeds are $10,000.00.

2    3. Classes of Interest Holders
3
            The Debtor is an individual. The Debtor is the interest holder. Debtor’s interest will not be
4
     impaired. The Debtor will retain ownership interest subject to the terms of the plan.
5
     D.     Other Provisions of the Plan
6
7           1.      Effective Date of the Plan

8           The Effective Date of the Plan is 14 days following the date of entry of the order confirming
9
     the Plan unless a stay of the confirmation order is in effect, in which case the Effective Date will be
10
     the first business day after the date on which the stay of the confirmation order has been lifted,
11
     provided that the confirmation order has not been vacated. Debtor expects the Effective Date of the
12
13   Plan to be in January 2014.

14          2.      Executory Contracts and Unexpired Leases
15
            a.      Assupmtions
16
            The Debtor’s income is derived from rental of real property owned by the Debtor. On the
17
     Effective Date, the Debtor assumes the executory contracts and unexpired leases of the Bankruptcy
18
19   Estate and shall perform all obligations there under, both pre-confirmation and post-confirmation.

20          On the Effective Date Debtor shall pay any post petition pre-confirmation arrearages, unless
21
     the parties agree otherwise or the court finds that a proposed payment schedule provides timely cure
22
     and adequate assurance of future performance. Post-confirmation obligations will be paid as they
23
     come due. The Debtor estimates that if any post-confirmation obligations exist they will not exceed
24
25   $1,500.00.

26          b.      Rejections
27
            There is no Executory Contract with the Debtor that is rejected. If any exists, a proof of claim
28

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1    for any damages resulting from such rejection shall be filed within thirty (30) days after the

2    Effective Date of the Plan. Such claim shall be deemed allowed unless, within thirty (30) days of
3
     service of a copy of the proof of claim upon the Reorganized Debtor and its counsel, an objection is
4
     filed. The objection shall be determined by the Court as a contested matter under Federal Rule of
5
     Bankruptcy Procedure 9014. Any such Claim, if allowed, shall be added to Class 2B and treated as
6
7    provided in Section 5.04 of the Plan.

8           Debtor is not aware of any other unexpired leases or executory contracts. If any should be
9
     found to exist, the Reorganized Debtor reserves the right to assume or reject it. Any such assumption
10
     or rejection shall be in accordance with the provisions of Section 365 of the Bankruptcy Code and
11
     Federal Rule of Bankruptcy Procedure 6006. A proof of claim for damages resulting from a rejection
12
13   shall be filed within thirty (30) days after entry of an order of the Court approving the rejection.

14   Such claim shall be allowed unless, within thirty days of service of a copy of the proof of claim upon
15
     the Reorganized Debtor and its counsel, an objection is filed. Each objection shall be determined by
16
     the Court as a contested matter under Federal Rule of Bankruptcy Procedure 9014. Any such claim,
17
     if allowed, shall be added to Class 2B and treated as provided in Section 5.04 of the Plan.
18
19          THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM

20   ARISING FROM THE REJECTION OF A LEASE OR CONTRACT SHALL BE THIRTY
21
     (30) DAYS AFTER THE EFFECTIVE DATE OF THE PLAN. Any claim based on the rejection
22
     of contract or lease will be barred if the proof of claim is not timely filed, unless the Court later
23
     orders otherwise.
24
25                                          PART IV
                                MEANS OF EFFECTUATING THE PLAN
26
            A.      Funding for the Plan.
27
28   Debtor will continue to be employed by Kaiser Permanente as an ultra sound technician. The Chart

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1    below depicts the income that she received during the full months of the pendency of the Bankruptcy

2    petition.
3
                 DATE     NET MONTHLY INCOME FROM
4                                EMPLOYMENT
      July 2012       $8,506.10
5
      August 2012     $5,775.98
6     September 2012  $5,829.36
7     October 2012    $6,064.52
      November 2012   $9,070.88
8     December 2012   $6,373.03
9     January 2013    $5,166.54
      February 2013   $5,128.35
10
      March 2013      $5,785.70
11    April 2013      $5,226.68
12    May 2013        $7,739.22
      June 2013       $5,137.63
13
      July 2013       $5,180.47
14    August 2013     $5,222.31
15    September 2013  $5,069.06
      October 2013    $5,479.62
16
      TOTAL           $96,755.45
17    AVERAGE MONTHLY $6,047.21
       NET EMPLOYMENT
18
              INCOME
19
             Debtor will continue to receive an average net income from Kaiser Permanente in the amount
20
21   of $6,047.21 each month during the life of the plan. Debtor will continue to manage her rental

22   operations. Debtor expects the net income to grow significantly, because after Plan confirmation, the

23   loan modifications and cramdowns will increase net income. As the Historical and Current Financial
24
     Information shows (Part XII) the Post confirmation net income will grow to $3,813.94 per month
25
     from the Pre-Petition net loss of ($1,631.65) per month. By the time of Plan confirmation, or on the
26
     effective date, Debtor expects to have sufficient funds on hand to pay all Administrative
27
28   convenience claims.

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1           Real property will be sold to fund the Plan. Debtor will sell the Vacant Land Lot 13

2    Duchesne Mini Ranch, UT. The unsecured creditors in Class 2B shall also receive a pro-rata share
3
     of the net sales proceeds from the sale of the real property Vacant Land Lot 13 in Duchesne Mini
4
     Ranch, UT. Pro-rata means the entire amount of the net sales proceeds divided by the entire amount
5
     owed to creditors with allowed claims in this class. The estimated net sales proceeds are $10,000.00.
6
7           The Plan will be funded from operations from cash flow and future rental income. The Plan

8    proposes to pay to the unsecured creditors in Class 2B $7,046.17 each quarter (i.e. $2,348.72 each
9
     month). As Debtor’s financial projections demonstrate, Debtor will have an average gross monthly
10
     income of $20,386.64. After paying operating expenses, plan payments and post-confirmation taxes,
11
     of $13,362.73 each month for the life of the Plan, the net monthly sum of $7,023.91 will be used for
12
13   contingencies for vacancies and Debtor’s living expenses. Current/Post petition Income and

14   Expenses, which have been prepared as of October 31, 2013, and are attached hereto as Exhibit B.
15      The financial projections were made utilizing the historical information and post confirmation
16
     stipulations and loan modifications the secured lenders in the rental properties. The projections do
17
     not account for unexpected emergencies, capital improvements, repairs and/or vacancies. In addition
18
19   to the payment as set forth in the plan, whenever the reorganized Debtor’s account exceeds thirty

20   thousand ($30,000.00) dollars. Debtor shall segregate funds that exceed the $30,000.00 reserve in a
21   separate account and shall distribute funds (not less than $5,000.00) to the unsecured creditors in
22
     Class 2B. Pro-rata means the entire amount of the excess divided by the entire amount owed to
23
     creditors with allowed claims in this class. Creditors will receive a pro-rata share of such excess.
24
25   Pro-rata means the entire amount of the excess divided by the entire amount owed to creditors with

26   allowed claims in this class.
27
28

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1           B.      Disbursing Agent.

2           The Debtor shall act as the Disbursing Agent for the purpose of making all distributions
3
     provided for under the Plan.
4
                                               PART V
5                                        CASH REQUIREMENTS
6
            On the Effective Date of the Plan, Debtor will need approximately $15,650.00 to pay
7
     administrative expenses.
8
                                             PART VI
9
                                     ADMINISTRATIVE EXPENSES
10
            Administrative expenses are defined in §507(a)(1) of the Code. They include the Debtor’s
11
     post-petition operating expenses, which are unpaid on the Effective Date of the Plan. These post-
12
13   petition expenses will be assumed and paid by the reorganized Debtor. Administrative expenses also

14   include the Court approved fees and costs of professional persons. In this case, the Court has
15
     approved the employment of Attorney, Andrew H. Griffin, III. The Court must approve this
16
     payment. A retainer was collected from Debtor in the amount of $10,000.00 that will be applied
17
     toward payment. The Court has also approved the employment of an appraiser that has been paid
18
19   pursuant to Court Order.

20          Other than ordinary course of business expenses, Debtor believes that Administrative Claims
21
     consist of the professional fees of Debtor’s Professionals. Under the plan, unless otherwise agreed to
22
     by the parties, each holder of an Allowed Administrative Claim will receive Cash equal to the
23
     unpaid portion of such Allowed Administrative Claim on the later of (i) the Effective Date, and (ii)
24
25   the date on which such Claim becomes an Allowed Administrative Claim; provided, however, that

26   Administrative Claims that represent liabilities incurred by Debtor in the ordinary course of its
27
     business during the Bankruptcy Case will be paid in the ordinary course of its business and in
28

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1    accordance with any terms and conditions of any agreements relating thereto.

2                                              PART VII
                                          LEGAL PROCEEDINGS
3
4           No proceedings to avoid liens are pending or anticipated, except the Parties in interest may

5    file objections to disputed claims after Plan Confirmation thirty (30) days after confirmation.
6
     Nevertheless, Debtor does not anticipate becoming involved in any litigation after Plan confirmation
7
     that would materially affect Debtor’s reorganization.
8
                                              PART VIII
9
                                     DESCRIPTION OF THE DEBTOR
10
            A. Description and History of the Debtor’s Business.
11
            The Debtor is an individual employed in the Health Care industry and in the business of
12
13   actively owning and renting real property.        The Debtor is receiving income from her usual

14   occupation as an ultrasound Technician with Kaiser that she has done for the last fourteen (14) years.
15
            B. Principals/Affiliates of Debtor’s Business.
16
            During the two years prior to the date on which the bankruptcy petition was filed, there have
17
     been no officers, directors, managers or other persons in control of the Debtor except Hortensia
18
19   Carmona, the Debtor.

20                                  PART IX
         REASONS FOR FINANCIAL DIFFICULTIES AND CORRECTIONS OF THOSE
21
                                   FACTORS
22
            A. Reasons for Financial Difficulties
23
            The Debtor is a native of the Country of Mexico. On two separate occasions, her brothers
24
25   who resided in Mexico were kidnapped and held for ransom. The Debtor paid the ransom on each

26   occasion and ultimately relocated her family to safe locations. The payment of the ransoms and costs
27
     of relocation of her family exacted a financial toll on the Debtor, resulting in defaults on the Secured
28

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1    Notes and threatened foreclosures.

2           Debtor also fell prey to an attorney by paying him the amount of $28,998.00 for a Chapter 13
3
     Bankruptcy petition that was dismissed. The attorney was ultimately suspended from the practice of
4
     law. No return of the funds has been made despite the fact that the Court ordered the fees to be
5
     disgorged.
6
7    Corrections of the Factors.

8           Debtor relocated her family and they are no longer susceptible to kidnapping since they have
9
     relocated to safe areas to reside. Debtor has obtained competent insolvency counsel to assist in the
10
     resolution of her economic problems.
11
            B. Reason for the Chapter 11 Filing
12
13          The Bankruptcy Petition was filed to stop the Trustee sale of several of the properties and to

14   modify the loans.
15
                                                PART X
16                                        ASSETS AND VALUATION

17          Debtor’s assets are listed below. A certified appraiser supports the values of the real property
18
     shown. Each appraisal has been filed with the Court as part of Debtor’s motions to value.
19
       Real Property
20
                         A. 10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA
21
22     Description of Property: The property is a commercial property, which consists of 2,654
       square foot.
23
24       Rental                   Mortgage             Insurance     Property      Other       Net Income
        Income                                                        Taxes       Expenses
25
      $2,360.00      $895.73                           $200.00      $211.91       $208.33      $844.03
26                   1st - Bayview Loan Servicing
27
      Appraised Value     Liens           Balloon Payment     Occupied        Rents          Taxes
28                                                                            Current        Delinquent

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1     $220,000.00         $215,218.97     No                   Yes             Yes              No

2                                 B. 20535 Kenwood Avenue, Torrance, CA
3
     Description of Property: The property is a single-family residence that consists of 1,544 square foot,
4    3 bedrooms, 2 bathrooms home, and 2-vehicle garage.

5
         Rental                   Mortgage             Insurance     Property         Other       Net Income
6       Income                                                        Taxes          Expenses
7     $1,800.00      $1,353.00                         $0            $0              $110.00      $337.00
                     1st - Bank of America
8
9     Appraised Value     Liens           Balloon        Occupied         Rents            Taxes Delinquent
                                          Payment                         Current
10    $275,000.00         $365,267.70     No             Yes              Yes              No
11
                                   C. 881 E. 41st Street, Los Angeles, CA
12
     Description of Property: The property is a multiplex which consists of Unit 1, 993 square foot, 2
13   bedrooms, 1 bath; Unit 2, 993 square foot, 2 bedrooms, 1 bath; Unit 3, 993 square foot, 2 bedrooms,
14   1 bath; Unit 4, 550 square foot, 1 bedroom, 1 bath.

15
         Rental                   Mortgage             Insurance     Property         Other       Net Income
16      Income                                                        Taxes          Expenses

17    $3,800.85      $1,237.00                         $31.91        $322.36         $730.00      $1,479.58
                     1st - OneWest Bank, FSB
18
19    Appraised Value     Liens           Balloon        Occupied         Rents            Taxes Delinquent
                                          Payment                         Current
20    $275,000.00         $484,590.49     No             Yes              Yes              No
21                                  D. 1503 N. Frances Street, Terrell, TX
22
     Description of Property: The property is a single-family residence that consists of 1,084 square foot,
23   3 bedrooms, 3 bathrooms and garage for 2 vehicles.
24
         Rental                   Mortgage             Insurance     Property         Other       Net Income
25      Income                                                        Taxes          Expenses
26    $695.00        $170.00                           $10.00        $127.27         $169.50      $218.23
                     1st - Wells Fargo Bank
27
28    Appraised Value     Liens           Balloon        Occupied         Rents            Taxes Delinquent

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1                                        Payment                        Current
      $34,500.00          $47,932.74     No              Yes            Yes             No
2
3      The Property taxes are current.

4      The Mortgage payments of $590.00 per month (Payments of taxes and insurance are included).
5                            E. 9853-9855 Arabian Nights Street, El Paso, TX
6
     Description of Property: The property is a single-family residence that consists of 1,776 square feet,
7    3 bedrooms, 3 bathrooms and a garage for 2 vehicles.
8
         Rental                   Mortgage             Insurance    Property       Other       Net Income
9       Income                                                       Taxes        Expenses
10    $1,310.00      $895.73                           $75.00       Impound       $231.00      $108.27
                     1st - Bank of America
11
                     2nd - Bank of America
12
13    Appraised Value     Liens          Balloon         Occupied       Rents           Taxes Delinquent
                                         Payment                        Current
14    $75,000.00          $102,411.67    No              Yes            Yes             No
                          $11,208.59
15
16                           G. 9857-9859 Arabian Nights Street, El Paso, TX

17   Description of Property: The property is a single-family residence that consists of 950 square feet, 3
     bedrooms, 3 bathrooms and a garage for 2 vehicles.
18
19       Rental                   Mortgage             Insurance    Property       Other       Net Income
20      Income                                                       Taxes        Expenses
      $1,275.00      $502.00                           $75.00       $80.00        $227.50      $390.50
21
                     1st - Bank of America
22                   2nd - Bank of New York
23                   Mellon (Bank of America)

24    Appraised Value     Liens          Balloon         Occupied       Rents           Taxes Delinquent
25                                       Payment                        Current
      $101,500.00         $104,507.56    No              Yes            Yes             No
26                        $8,466.64
27     Total Pre-Petition Net Monthly Income of All Real Property is: (-$1,631.65)
28

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1                                    Property Address                                    Value
          10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA                       $220,000.00
2         20535 Kenwood Avenue, Torrance, CA                                          $275,000.00
3         881 E. 41st Street, Los Angeles, CA                                         $275,000.00
          1503 N. Frances Street, Terrell, TX                                         $34,500.00
4         9853-9855 Arabian Nights Street, El Paso, TX                                $75,000.00
          9857-9859 Arabian Nights Street, El Paso, TX                                $101,500.00
5
          Vacant Land #3 – Mexico de Corte                                            $1,200.00
6         30 Manzana Punta Azul, Rosarito, BC                                         $24,000.00
          Vacant Land Lot 13 Duchesne Mini Ranch, UT                                  $13,500.00
7         Vacant Land #2 - de Lote 8 Manzana 11 Valles de Mar, Rosarito, BC           $14,000.00
8         Vacant land - de Lote 9 Manzana 11 Valles Del Mar, Rosarito, BC             $14,000.00
          Calle 20 de Noviembre # 18, Ciudad Hidalgo House and Lot in                 $14,500.00
9         Michoacán, Mexico
          Calle Reforma #58, Ciudad Hidalgo House and Lot in Michoacán, Mexico        $30,923.00
10
11     Total Value of Real Property: $1,093,123.00

12     The values shown on the real property (except those situated in Mexico and Utah) are based upon
13   the appraisals by a certified appraiser who has been employed by Debtor.
14
                                                 PART XI
15                                             LIABILITIES
16     Debtor’s secured liabilities are listed below:
17
                                     Property Address                                   Liabilities
18        10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA                       $215,218.97
          20535 Kenwood Avenue, Torrance, CA                                          $365,261.70
19
          881 E. 41st Street, Los Angeles, CA                                         $484,590.49
20        1503 N. Frances Street, Terrell, TX                                         $47,932.74
          9853-9855 Arabian Nights Street, El Paso, TX                                $102,411.67
21                                                                                    $11,208.59
22        9857-9859 Arabian Nights Street, El Paso, TX                                $104,507.56
                                                                                      $8,466.64
23        Total                                                                       $1,339,598.36
24     Debtor’s total secured liabilities $1,339,598.36
25
26
27
28

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1      Debtor’s unsecured liabilities are listed below:

2       CLASS #2A. Administrative Convenience Claims.
3
                 Name of Creditor                                           Amount of Claim
4
                 Capital One, N.A. c/o Creditors Bankruptcy                 $663.00
5
                 Kohl’s                                                     $691.00
6
                 Target National Bank                                       $93.00
7
                 Asset Acceptance LLC                                       $117.00
8                Discover Bank DB Servicing Corporation (Claim 2)           $450.00
9                FIA Card Services, N.A. (Claim 3)                          $525.78
10               Total                                                      $2,539.78
11
            CLASS #2B. General Unsecured Claim
12
                                        DESCRIPTION                           Claim Amount
13
14           Wells Fargo Card Services (Claim 1)                            $6,825.82
             Discover Bank DB Servicing Corporation (Claim 2)               $450.00
15           FIA Card Services, N.A. (Claim 3)                              $525.78
             American Express Bank, FSB (Claim 4)                           $1,002.92
16
             OneWest Bank, FSB (Unsecured Claim of Class 1G)                $209,590.49
17           Wells Fargo Bank (Unsecured Claim of Class 1F)                 $13,432.74
             Bank of New York Mellon (Unsecured Claim of Class 1E)          $8,466.64
18           Bank of America (Unsecured Claim of Class 1D)                  $3,007.56
19           Bank of America (Unsecured Claim of Class 1C)                  $11,208.59
             The Bank of America (Unsecured Claim of Class 1B)              $27,411.67
20           Bank of America (Unsecured Claim of Class 1A)                  $90,269.70
21
     Total Amount of Unsecured Liabilities $380,872.91
22
                                            PART XII
23                        HISTORICAL AND CURRENT FINANCIAL INFORMATION
24
            The average employment net income of $6,189.97 per month was received during the
25
     pendency of the Bankruptcy Petition. This income is expected to be received throughout the life of
26
     the plan.
27
28          Debtor has filed monthly operating reports with the court, which show a profit each month.

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1    After stipulations and loan modifications the monthly net income is $3,377.61 that she receives from

2    rental income. The following is a chart of historical pre-confirmation and post confirmation income.
3
                                               PRE-PETITION
4
      Property Address            Monthly            Mortgage            Expenses       Net Income
5                                 Income
6     10113, 10113 ½, 10115       $2,250.00          $2,046.00           $396.74        ($82.74)
      S. Main Street
7     20535 Kenwood Avenue        $1,800.00          $3,070.00           $110.00        ($1,639.00)
      881 E. 41st Street          $3,800.85          $2,534.00           $761.91        $504.09
8     1503 N. Frances Street      $695.00            $590.00             $179.50        ($74.50)
9     9853-9855 Arabian           $1,310.00          $1,139.00           $306.00        ($135.00)
      Nights Street
10    9857-9859 Arabian           $1,275.00          $1,177.00           $302.50        ($204.50)
      Nights Street
11
      Total                       $11,130.85         $10,556.00          $2,056.65      ($1,631.65)
12
     When the plan is confirmed the estate will show a profit as follows:
13
                                         POST-CONFIRMATION
14
15    Property Address              Monthly               Mortgage          Expenses       Net Income
                                    Income
16    10113, 10113 ½, 10115         $2,360.00             $1,307.64         $208.00        $844.36
17    S. Main Street
      20535          Kenwood        $1,800.00             $1,353.00         $200.00        $247.00
18    Avenue
      881 E. 41st Street            $3,800.85             $1,237.00         $1,084.27      $1,479.58
19    1503 N. Frances St            $695.00               $170.00           $306.77        $218.23
20    9853-9855        Arabian      $1,310.00             $369.73           $306.00        634.27
      Nights Street
21    9857-9859 Arabian Nights      $1,275.00             $502.00           $382.50        $390.50
      Street
22    Total                         $11,240.85            $4,939.37         $2,487.54      $3,813.94
23
                                              PART XIII
24                                       LIQUIDATION ANALYSIS
25
            Another confirmation requirement is the “Best Interest Test” which requires a liquidation
26
     analysis. Under the Best Interest Test, if a claimant or interest holder is in an impaired class and the
27
     claimant or interest holder does not vote to accept the Plan, then that claimant or interest holder must
28

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1    receive or retain under the Plan property of a value not less than the amount that such holder would

2    receive or retain if the Debtor were liquidated under Chapter 7 of the Bankruptcy Code.
3
             In a Chapter 7 case, a Chapter 7 Trustee usually sells the Debtor’s assets. Secured creditors
4
     are paid first from the sales proceeds of properties on which the secured creditor has a lien.
5
     Administrative claims are paid next. Next, unsecured creditors are paid from any remaining sales
6
7    proceeds, according to their rights to priority. Unsecured creditors with the same priority share in

8    proportion to the amount of their allowed claims. Finally, interest holders receive the balance that
9
     remains after all creditors are paid, if any.
10
             For the Court to be able to confirm this Plan, the Court must find that all creditors and
11
     interest holders who do not accept the Plan will receive at least as much under the Plan as such
12
13   holder should receive under a chapter 7 Liquidation. The Plan Proponent maintains that this

14   requirement is met here for the following reason – The unsecured creditors would receive no
15
     distribution if all the assets were liquidated. All the real property has secured liens that exceed the
16
     value of the real property.
17
             Below is a demonstration, in balance sheet format, that all creditors and interests will receive
18
19   at least as much under that Plan as such creditor or interest holder would receive under Chapter 7

20   liquidation.)
21
                               ASSETS VALUED AT LIQUIDATION VALUE
22
        CURRENT ASSETS
23      a. Cash on hand                                     $10,905.00
        b. Accounts receivable                              $-0-
24
        c. Inventories                                      $-0-
25
                                                            __________________
26      TOTAL CURRENT ASSETS                                $10,905.00
27
        FIXED ASSETS
28      d. Furniture and Furnishings                        $5,000.00

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1     e. Machinery & Equipment                                         $-0-
      f. Automobile                                                    $10,838.00
2     g. Building and Land
3
                     Property Address                                           Values                      Liabilities
4    10113, 10113 ½, 10115 S. Main Street, Los                             $220,000.00                 $215,218.97
     Angeles, CA
5    20535 Kenwood Avenue, Torrance, CA                                    $275,000.00                 $365,261.70
6    881 E. 41st Street, Los Angeles, CA                                   $275,000.00                 $484,590.49
     1503 N. Frances Street, Terrell, TX                                   $34,500.00                  $47,932.74
7    9853-9855 Arabian Nights Street, El Paso, TX                          $75,000.00                  $102,411.67
                                                                                                       $11,208.59
8    9857-9859 Arabian Nights Street, El Paso, TX                          $101,500.00                 $104,507.56
9                                                                                                      $8,466.64
     Vacant Land #3 – Mexico de Corte                                      $1,200.00
10   30 Manzana Punta Azul, Rosarito, BC                                   $24,000.00
     Vacant Land Lot 13 Duchesne Mini Ranch, UT                            $13,500.00
11
     Vacant Land #2 - de Lote 8 Manzana 11 Valles de                       $14,000.00
12   Mar, Rosarito, BC
     Vacant land - de Lote 9 Manzana 11 Valles Del                         $14,000.00
13   Mar, Rosarito, BC
14   Calle 20 de Noviembre # 18, Ciudad Hidalgo                            $14,500.00
     House and Lot in Michoacán, Mexico
15   Calle Reforma #58, Ciudad Hidalgo House and                           $30,923.00
     Lot in Michoacán, Mexico
16   Total                                                                 $1,093,123.00     $1,339,598.36
17                                                                             ______________________________
            TOTAL FIXED ASSETS                                                 $1,108,961.00
18    OTHER ASSETS
      h. Customer List                                                           $-0-
19    i. Stocks, bonds, financial assets                                         $-0-
20    j. Lawsuits or other claims against
            Third parties                                                        $-0-
21    k. Other intangibles (e.g. avoiding powers)                                $-0-
                                                                                 __________________
22       TOTAL OTHER ASSETS                                                      $-0-
23    TOTAL CURRENT ASSETS:                                                      $10,905.00
      TOTAL FIXED ASSETS                                                         $1,108,961.00
24    TOTAL OTHER ASSETS:                                                        $-0-
      TOTAL ASSETS AT LIQUIDATION VALUE:                                         $1,119,866.00
25
26    Less;
      Secured creditor’s recovery1                                               $1,655,517.55
27
      1
          NOTE: The deficiency portion of a secured recourse claim must be added to the total amount of unsecured claims.
28

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1      Less:
       Chapter 7 Trustee Fees and expenses                     $130,035.00
2      Less:
       Chapter 11 administrative expenses                      $650.00
3
       Less:
4      Priority Claims, excluding administrative expense claims $0
       Less:
5      Debtor’s claimed exemptions                      $25,050.00
       (1) Balance for unsecured claims                 $-0-
6
       (2) Total amount of unsecured claims             $380,872.91
7      PERCENT OF THEIR CLAIMS WHICH UNSECURED CREDITOR WOULD RECEIVE
       OR RETAIN IN A CHAPER 7 LIQUIDATION2: ZERO (0%)
8      PERCENT OF THEIR CLAIMS, WHICH UNSECURED CREDITORS, WILL RECEIVE
       OR RETAIN UNDER THIS PLAN: 37%                                  $140,922.98
9
10   Below is a demonstration, in tabular format, that all creditors and interest holders will receive at least

11   as much under the Plan as such creditor or holder would receive under Chapter 7 liquidation.
12
       CLAIMS & CLASSES                           PAYOUT                                       PAYOUT PERCENTAGE
13                                                PERCENTAGE UNDER                             IN CHAPTER 7
                                                  THE PLAN                                     LIQUIDATION
14
           Administrative Claims                  100%                                         0%
15
            Priority Tax Claims                   100%                                         0%
16         Class 1                                100%                                         81%
17         Secured Claims
           Class 2                                37%                                          0%
18         General Unsecured Class
           Class 3                                100%                                         0%
19
           Interest Holders
20
                                                             PART XIV
21                                                          FEASIBILITY
22
             Another requirement for confirmation involves the feasibility of the plan, which means that
23
     confirmation of the Plan is not likely to be followed by liquidation, or the need for further financial
24
25   reorganization of the Debtor or any successor to the Debtor under the Plan, unless such liquidation

26   or reorganization is proposed in the Plan.

27     2
         Note: if this percentage is greater that the amount to be paid to the unsecured creditors on a “present value basis’ under the
       Plan, the Plan is not confirmable unless proponent obtains acceptance by every creditor in an impaired class.
28

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1            There are at least two important aspects of a feasibility analysis. The first aspect considers

2    whether the Debtor will have enough cash on hand on the Effective Date of the Plan to pay all the
3
     claims and expenses which are entitled to be paid on such date. The Proponent maintains that this
4
     aspect of feasibility is satisfied as illustrated here:
5
     Effective Date Feasibility
6
     Can the Debtor Make the Effective Day Payments?
7                                                                             Amount         Amount
8     A. Projected Total Cash on Hand on Effective Date                                   $35,369.99
9       Payments on Effective Date
10       Unclassified Claims                                               $0

11       Administrative Expense Claims                                     $15,000.00
         Priority Claims                                                   $0
12
         U.S. Trustee Fees                                                 $650.00
13
      B. Total Payments on Effective Date                                                 $15,650.00
14
      C. Net Cash on Effective Date (Line A - Line B)                                     $19,719.99
15    (Not feasible if less than zero)
16
     The sources of the cash Debtor will have on hand by the Effective Date, as shown above are:
17
        $27,985.98                    Cash in DIP Account currently
18
19      +$7,384.01                    Additional cash DIP will accumulate from Net earnings between
                                      now and Effective Date.
20      +-0-                          Borrowing
21      +-0-                          Capital Contributions
22
        +-0-                          Other
23
        $35,369.99                    Total
24
25
     The second aspect of feasibility considers whether the Proponent will have enough cash over the life
26
     of the Plan to make the required Plan payments.
27
28

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1                                         FINANCIAL STATEMENTS

2    Monthly Income and Expenses
3     Income                                                                         Amount
4     Current monthly gross wages, salary                     $9,145.79
      TOTAL AVERAGE MONTHLY INCOME                                                  $9,145.79
5     Income from real property
6     20535 Kenwood Avenue, Torrance CA                       $1,800.00
      9853-9855 Arabian Nights Street, El Paso, TX            $1,310.00
7     9857-9859 Arabian Nights Street, El Paso, TX            $1,275.00
      1503 N. Frances Street, Terrell, TX                     $695.00
8
      881 E. 41st Street, Los Angeles, CA                     $3,800.85
9     10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA   $2,360.00
      Total Rental Income                                                           $11,240.85
10
      A. TOTAL MONTHLY INCOME                                                       $20,386.64
11
12    Expenses                                                                       Amount
      Home rental                                                                   $1,100.00
13    Utilities: Electricity and heating fuel                                         $50.00
14    Utilities: Water and sewer                                                      $50.00
      Utilities: Telephone, Cable, Internet                                          $110.00
15    Utilities: Other                                                                $50.00
16    Food                                                                           $700.00
      Clothing                                                                        $50.00
17    Medical and dental expenses                                                     $50.00
      Transportation                                                                 $400.00
18
      Recreation, clubs and entertainment, newspapers, magazine, etc.                $100.00
19    Charitable contributions                                                        $50.00
      Insurance: Life                                                                 $80.00
20
      Insurance: Auto                                                                $190.00
21    Taxes: (not deducted from wages or included in home mortgage)                 $2,955.82
      Total Personal Expenses                                                       $5,935.82
22    Class 1A Bank of America (20535 Kenwood Avenue)            $1,353.00
23    Class 1B Bank of America (9853-9855 Arabian Nights)        $369.73
      Class 1D Bank of America (9857-9859 Arabian Nights)        $502.00
24    Class 1F Wells Fargo Bank, N.A., (1503 N. Frances Street) $170.00
25    Class 1G One West Bank, FSB (881 E. 41st Street)          $1,237.00
      Class 1H Bayview Loan Servicing, LLC (10113, 10113 ½ Main)$1,307.64
26    20535 Kenwood Avenue, Torrance CA                                              $200.00
      9853-9855 Arabian Nights Street, El Paso, TX                                   $306.00
27
      9857-9859 Arabian Nights Street, El Paso, TX                                   $382.50
28    1503 N. Frances Street, Terrell, TX                                            $306.77

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1     881 E. 41st Street, Los Angeles, CA                                                   $1,084.27
      10113, 10113 ½, 10115 S. Main Street, Los Angeles, CA                                  $208.00
2     Regular Expenses from operation of rental properties                                  $7,426.91
3     B. TOTAL MONTHLY EXPENSES                                                            $13,362.73

4     C. Disposable Income (Line A – Line B)                                               $7,426.91
5
      Plan Payments                                                                           Amount
6
      Plan Payments Not Included in Calculating Disposable Income
7     Administrative Claims-Trustee Fees                                                  $216.67
8     Priority Claims                                                                     NONE
9     General Unsecured Creditors                                                         $2,348.72
10    D. Total Plan Payments                                                              $2,565.39

11
      E. Plan Feasibility (Line C - Line D)                                               $4,458.52
12    (Not feasible if less than zero)
13
            The Proponent has provided financial information, which include both historical and
14
     projected financial statements. YOU ARE ADVISED TO CONSULT WITH YOUR
15
16   ACCOUNTANT OR FINANCIAL ADVISOR IF YOU HAVE ANY QUESTIONS

17   PERTAINING TO THESE FINANCIAL STATEMENTS.

18          In summary, the Plan proposes to pay $7,046.15 each quarter ($2,348.72 each month). As
19
     Debtor’s financial projections demonstrate, Debtor will have an average cash flow, after paying
20
     operating expenses and post-confirmation taxes, of $4,458.52 each month for the life of the Plan.
21
22   The final Plan payment is expected to be paid on December 1, 2018. The Plan Proponent contends

23   that Debtor’s financial projections are feasible. As shown by Debtor’s historical financial statements,

24   Debtor’s average monthly cash flow, after paying operating expenses and post-confirmation taxes, in
25
     the three years preceding the filing of this bankruptcy case is sufficient to make the plan payment.
26
     Furthermore, as discussed earlier in the Disclosure Statement. Debtor has obtained loan
27
     modifications and has procedures to decrease costs and increase income which will increase her
28

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1    productivity.

2                                               PART XV
                                         FINANCIAL PROJECTIONS
3
4              The income for each real property stated in the Disclosure Statement based upon the current

5    and actual, rents received which depicts operations following the Effective Date for sixty (60)
6
     months. The financial projections are made utilizing the historical information as reflected in the
7
     operating reports filed with the Court. The assumptions made in formulating the projections, such as
8
     expected rents received and gross and net profit levels are based on the loan modifications received
9
10   by the secured lenders in the rental properties and consistent rental occupancy.

11                                             PART XVI
                                           MARKETING EFFORTS
12
13             None of the real property was marketed since each of the real properties was over

14   encumbered and a sale would not realize any proceeds to the Estate. The Debtor will market the land
15
     lot 13 in Duchesne Mini Ranch, Utah to reduce the non-income producing economic burden of the
16
     Estate.
17
18
           Class Name of             Property Address                         Value       Monthly
19               Secured                                                                  Payment
                 Creditor
20           -    None    Vacant Land #3 – Mexico de Corte                 $1,200.00     $24.99
21           -    None    30 Manzana Punta Azul, Rosarito, BC              $24,000.00    $90.82
             -    None    Vacant Land Lot 13 Duchesne Mini                 $13,500.00    $49.49
22                        Ranch, UT
             -    None    Vacant Land #2 - de Lote 8 Manzana 11            $14,000.00    $69.16
23                        Valles de Mar, Rosarito, BC
24           -    None    Vacant land - de Lote 9 Manzana 11               $14,000.00    $69.16
                          Valles Del Mar, Rosarito, BC
25           -    None    Calle 20 de Noviembre # 18, Ciudad               $14,500.00    $82.66
                          Hidalgo House and Lot in Michoacán,
26                        Mexico
27           -    None    Calle Reforma #58, Ciudad Hidalgo                $30,923.00    $82.72
                          House and Lot in Michoacán, Mexico
28

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1    The following should be noted:

2            1.      There are no secured creditors with Notes against the above property. None of the
3
     above property is secured by Deeds of Trusts.
4
             2.      The Real Property situated in Mexico is located in a lawless and hostile area. The
5
     Debtor’s family members have already been kidnapped and held for ransom on multiple occasions.
6
7    Real Property in this area can not be advertised for sale because such advertisements serve to notify

8    kidnappers of potential victims. Debtor would prefer to abandon the Mexican Property rather than to
9
     subject her family to further risk of further harm.
10
             3.      Debtor holds a contingent interest in the Calle Reforma #58 property after her
11
     parents’ life estate.
12
13           4.      There are no recorded titles on any of the real estate located in Mexico.

14           5.      The monthly payments represent the amount of taxes and insurance if the annual
15
     amount were paid in equal monthly installments.
16
             Debtor will sell or abandon the above real property by December 2013, paying the unsecured
17
     creditors from the proceeds of the sale. Debtor will file a motion for approval of any such sale on 28
18
19   days notice to lienholders whose lien is not in bona fide dispute may credit bid the amount of its lien

20   at the sale. Any deficiency claim is a general unsecured claim treated in Part 2B.
21
             The Debtor contends that there are no Creditors in this class. However, if any exist, they may
22
     not repossess or dispose of their collateral so long as Debtor is not in material default under the Plan.
23
     These secured claims are impaired and are entitled to vote on confirmation of the Plan.
24
25                                              PART XVII
                                          POST-PETITION EVENTS
26
             The major events, which affected the case were:
27
28           A. Employment of Andrew H. Griffin, III, Attorney for Debtor;

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1           B. Employment of Appraiser.

2           C. The following loan modifications resulted in reduction of principal, reduced interest
3
                rates or arrears, which significantly caused the increase of monthly cash flow:
4
                1. On October 23, 2012, Debtor entered into a loan modification with secured
5
            creditor Bayview Loan Servicing, LLC on the property located at 10113, 10113 ½, 10115
6
7           S. Main Street, Los Angeles, CA.

8               2. The real properties were valued at significantly lower amounts than the
9
            encumbrances.
10
                3. Debtor has reached an agreement with the father of her children that no Child
11
            support payment is payable.
12
13              4. Debtor has discontinued the use of a property manager and entered into an

14          agreement to have the tenant provide for the landscaping of the Kenwood property. The
15
            change resulted in a positive cash flow.
16
                                           PART XVIII
17                                  MANAGEMENT COMPENSATION
18
            There are no managers, insiders or otherwise, employed by the Debtor. The Debtor is living
19
     on proceeds of the estate.
20
                                              PART XIX
21
                                    INSIDER AND AFFILIATE CLAIMS
22
            The only insider is the Debtor who will pay herself the sum of $6,189.97 per month for her
23
     living expenses.
24
25                                Debtor’s Interest in Worldwide Ballistics, Inc.

26          The Debtor holds an One hundred (100%) percent interest in Worldwide Ballistics, Inc. The
27
     Debtor estimates that the value of Worldwide Ballistics, Inc. is zero. This estimate is based on the
28

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1    fair market value of the real property consisting of a commercial building located at 10121 S. Main

2    Street, Los Angeles, CA. The company owns a one-third interest in the subject property with
3
     Debtor’s uncle, Ramon Carmona and Debtor’s brother Amador Carmona.
4
             The value is calculated as follows: The fair market value of $220,000.00 less the existing
5
     liens of $300,000.00 is -$80,000.00. The Company’s one-third interest results in a value of (-
6
7    $26,670.00) The rents are servicing the debt. There is no income received by the Debtor. The

8    Debtor does not have a personal guarantee to pay the note secured by the real property.
9
             Vacant lot 1 located at: 343 Cygrus Street SW, Ocean Shore, Washington 98567, valued at
10
     $13,000.00.
11
             Vacant lot 2 located at: 454 Volans Avenue SW, Ocean Shore, Washington 98569, valued at
12
13   $13,000.00. Debtor receives no income from the vacant lots.

14                                         PART XX
                           UNITED STATES TRUSTEE SYSTEM FUND FEES
15
16           A fee is required by the provisions of the Title 28 United States Code §1930 (a)(6), to be paid

17   quarterly to the United States Trustee by a debtor in a Chapter 11 case. The amount of fee is based
18
     on the debtor’s disbursements for the preceding quarter. The debtor’s obligation to pay the fee
19
     continues after plan confirmation and until the Chapter 11 case is fully administered and closed. On
20
     the effective Date of the Plan, the Debtor shall be current with all quarterly fees due as of that date.
21
22   Any delinquent fees will be paid in full. Quarterly fees will be paid every calendar quarter thereafter

23   as a first priority under the Plan until the case is closed.
24
             The fee for the quarter ending with the Effective Date of the Plan will be paid on the
25
     Effective Date of the Plan. Thereafter, quarterly fees will be paid until the case is closed. As stated in
26
     Section XIV of the plan, Debtor expects the case to be closed when payments to the creditor have
27
28   commenced (about 30 days after the effective Date of the Plan), or after claim objection, if any, have

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1    been resolved.

2                                               PART XXI
                                              TAX ANALYSIS
3
4           CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

5    MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
6
     ACCOUNTANTS, ATORNEYS, AND/OR ADVISORS. The following disclosure of possible tax
7
     consequences is intended solely for the purpose of alerting readers about possible tax issues this Plan
8
     may present to the Debtor. The Proponent CANNOT and DOES NOT represent that the tax
9
10   consequences contained below are the only tax consequences of the Plan because the Tax Code

11   embodies many complicated rules, which make it difficult to state completely, and accurately all the
12
     tax implications in any action.
13
            A. Tax Impact on the Debtor
14
            Scope and Limitations. Under the Internal Revenue Code of 1986, as amended (the “Tax
15
16   Code”), there may be significant federal and state income tax issues for the Reorganized Debtor

17   arising under the Plan described in this Disclosure Statement. It is not practical to present a detailed
18
     explanation of all of the possible federal income tax ramifications of the Plan. The following is only
19
     a summary discussion of certain of the significant consequences, which may affect claimants. This
20
     summary is based upon laws, regulations, rulings, and decisions now in effect and proposed
21
22   regulations, all of which are subject to change (possibly with retroactive effect) by legislation

23   administrative action, or judicial decision.
24
            Under present law, there is uncertainty surrounding below. For such reason or otherwise, the
25
     tax consequences of certain aspects of transactions involving the Debtor or the Plan may be subject
26
     to administrative or judicial interpretations that differ from the discussion below. Further, this
27
28   summary does not discuss all aspects of the Tax Code or of federal, state or local taxation that may

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1    be relevant to a particular claimant. The federal income tax consequences to any particular claimant

2    may be affected by special considerations not discussed below, the transactions contemplated in the
3
     Plan may have significant state and local tax consequences, which are not discussed herein. Neither
4
     a ruling from the Internal Revenue Service (the “IRS”) nor an opinion of counsel has been requested
5
     with respect to the federal income tax consequences of the Plan.
6
7           ACCORDINGLY, ALL CLAIMANTS ARE URGED TO CONSULT THEIR TAX

8    ADVISORS CONCERNING THE FEDERAL, STATE AND LOCAL-TAX-CONSEQUENCES
9
     OF THE PLAN ON THEIR CLAIM(S), NEITHER THE DEBTOR, NOR IT’S COUNSEL MAKES
10
     ANY REPRESENTATIONS REGARDING THE PARTICULAR TAX CONSEQUENCES OF
11
     CONFIRMATION AND CONSUMMATION OF THE PLAN AS TO ANY CLAIMANT. THE
12
13   DEBTOR AND ITS COUNSEL IS NOT RENDERING ANY FORM OF LEGAL OPINION AS

14   TO ANY TAX CONSEQUENCES.
15
                                          PART XXII
16                           RISKS TO CREDITORS UNDER THE PLAN

17          Creditors will be paid under the Plan from future earnings. The proposed Plan has the
18
     following risks which may impede the Debtor’s ability to perform under the Plan or that would
19
     otherwise cause the Debtor to fail to meet the Plan’s requirements.
20
            A. Risks of Future Rental Income
21
22          No assurances can be given as to the future rental income. No assurances can be given as to

23   when, if ever, there will be vacancies in the rental units that result in the proceeds under the Plan.
24
     The pursuit of delinquent rents and/or evictions is time consuming and may incur costs of litigation.
25
            B. Liquidation of Claims
26
            As of the date hereof, there is no claim that is pending liquidation. There can be no
27
28   assurance that any future liquidation outcome will be favorable to the estate. As a result, assets may

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1    be diminished by litigating such claims, thereby reducing such funds available for distribution to

2    Holders of Allowed Claims.
3
            Additionally, if the aggregate amount of Allowed Claims in any Class exceeds Debtor’s
4
     present estimate of such Allowed Claims, the recovery obtained by holders of Allowed Claims in
5
     such Class will be adversely affected.
6
7                                            PART XXIII
                                         DEFAULT PROVISIONS
8
            The following are Events of Default under the Plan:
9
10          Notwithstanding any contrary provision in the Disclosure Statement, any pleading or other

11   document filed in this case, or any other document, contract or agreement, and except as provided
12
     for, should the debtor fail to make any payment, or to perform any other obligation required under
13
     the Plan, for more than 10 days after the time specified in the Plan for such payment or other
14
     performance, any party in interest adversely affected by such failure may give the Debtor notice, in
15
16   writing, and filed with the Court of such failure to perform (a “Notice of Default”). If Debtor fails

17   within 30 days after the date of service of the notice of default either: (i) to cure the default; (ii) to
18
     obtain from the court an extension of time to cure the default; or (iii) to obtain from the court a
19
     determination that no default occurred, then Debtor is in Material Default under the Plan to all the
20
     members of the affected class. The adversely affected party may file a motion with the Court to
21
22   determine what relief may be appropriate because of such default, including but not limited to the

23   entry of an order to timely perform under the Plan, dismissal of the case, or conversion of the case to
24
     one under Chapter 7, provided, however that if a final decree closing this case has been entered by
25
     the Court, the adversely affected party may seek its State Court judicial or nonjudicial relief. The
26
     triggering event of default under the Plan shall be the filing of a written notice of default with the
27
28   Bankruptcy Court.

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1           A. Post-Confirmation Conversion/Dismissal

2           A Creditor or party in interest may bring a motion to convert or dismiss the case under
3
     §1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court orders
4
     the case converted to Chapter 7 after the Plan is confirmed, then all property that had been property
5
     of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan will revest in the
6
7    Chapter 7 estate. The automatic stay will be reimposed upon the revested property, but only to the

8    extent that relief from stay was not previously authorized by the Court during this case.
9
            B. Revocation of the Order Confirming the Plan.
10
            The order confirming the Plan may also be revoked under very limited circumstances. The
11
     Court may revoke the order if the order of confirmation was procured by fraud and if a party in
12
13   interest brings an adversary proceeding to revoke confirmation with 180 days after the entry of the

14   order of confirmation.
15
                                           PART XXIV
16                              EFFECT OF CONFIRMATION OF PLAN

17          A. Discharge
18
            This Plan provides that upon payment in full of proposed plan payments to the creditors,
19
     Debtor shall be discharged of liability for payment of debts incurred before confirmation of the Plan
20
     to the extent specified in 11. U.S.C. §1141. However, the discharge will not discharge any liability
21
22   imposed by the Plan. Debtor will not be discharged from any debt excepted from discharge under

23   §523 of the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.
24
            B. Revesting of Property in the Debtor
25
            Except as provided in Section elsewhere in the Plan, the confirmation of the Plan revests all
26
     of the property of the estate in the Debtor.
27
28

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1           C. Modification of the Plan

2           The Proponent of the Plan may modify the Plan at any time before confirmation. However,
3
     the Court may require a new disclosure statement and/or revoting on the Plan.
4
            The Proponent of the Plan may also seek to modify the Plan at any time after confirmation
5
     only if (1) the Plan has not been substantially consummated and (2) the Court authorizes the
6
7    proposed modification after notice and a hearing.

8           D. Post-Confirmation Quarterly reports
9
            Plan Proponent shall file ongoing quarterly reports with the Court in compliance with United
10
     States Trustee reporting requirements and guidelines. The quarterly reports shall be served on the
11
     Untied States Trustee, the twenty largest unsecured creditors, and those parties who have requested
12
13   special notice.

14          E. Final Decree
15
            Once the estate has been fully administered as referred to in the Federal Rule Bankruptcy
16
     Procedure 3022, the Plan Proponent, or such other party as the Court shall designate in the plan
17
     Confirmation order, shall file a motion with the Court to obtain a final decreed to close the case.
18
19          F. Retained Bankruptcy Court Jurisdiction

20          The jurisdiction of the Court shall continue after the Effective Date of the Plan, whether or
21
     not the case is closed with respect to the following:
22
                1. Determination of the allowability of disputed claims, together with the claims of
23
                       Debtor for affirmative relief;
24
25              2. Assumption or rejection of unexpired leases and executory contracts, and

26                     determination of disputed claims arising out of rejections;
27
                3. Determination of any tax liability under Bankruptcy Code §505;
28

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1               4. Determination of requests for payment of claims entitled to priority under Bankruptcy

2                    Code §507(a)(1);
3
                5. Resolution of any disputes regarding interpretation of the Plan; and
4
            Implementation or modification of the provisions of the Plan and entry of orders in aid of
5
     consummation of the Plan, including without limitation appropriate orders to protect the
6
7    Reorganized Debtor from creditors’ actions.

8                                              PART XXV
                                              DISCLAIMER
9
10          The Court has conditionally approved this Disclosure Statement as containing adequate

11   information to enable parties affected by the Plan to make an informed judgment about its terms.
12
     The Court has not yet determined whether the Plan meets the legal requirements for confirmation,
13
     and the fact that the Court has conditionally approved this Disclosure Statement does not constitute
14
     an endorsement of the Plan by the Court, or a recommendation that it be accepted. Court conditional
15
16   approval of the Disclosure Statement does not warrant the accuracy in the information contained

17   therein, rather, that the requirements of 11 U.S.C. §1125 have been met.
18
19   Dated: July 15, 2013                          /s/ Hortensia Carmona
                                                   Hortensia Carmona, Debtor/Plan Proponent
20
     Submitted by:                           Law Offices of Andrew H. Griffin, III
21
                                                   /s/ Andrew H. Griffin, III
22                                                 Andrew H. Griffin, III, Esq.
23                                                 Attorney for Debtor/Plan Proponent,
                                                   Hortensia Carmona
24
25
26
27
28

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                     Exhibit “A”
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1    Andrew H. Griffin, III, (State Bar Number 108378)
     Law Offices of ANDREW H. GRIFFIN, III
2    275 E. Douglas Avenue, Suite 112
     El Cajon, CA 92020-4547
3    (619) 440-5000 Telephone
     (619) 440-5991 Facsimile
4
     Attorney for Debtor in Possession,
5    Hortensia Carmona
6
7
8                           UNITED STATES BANKRUPTCY COURT
9                               SOUTHERN DISTRICT OF CALIFORNIA
10   In Re:                                                     )      Case No.: 12-08679-PB11
                                                                )
11                                                              )
     Hortensia Carmona,                                                Chapter 11
                                                                )
12                                                              )
                         Debtor in Possession.                         HORTENSIA CARMONA’S PLAN OF
                                                                )      REORGANIZATION, DATED JULY
13                                                              )      15, 2013
                                                                )
14                                                              )
                                                                )      Judge: Honorable Peter W. Bowie
15
16            Hortensia Carmona, Debtor in Possession in this Chapter 11 case (“Debtor”), proposes the

17   following Plan of Reorganization Dated July 15, 2013:
18                                                      ARTICLE I
19                                                      SUMMARY

20            This Plan of Reorganization (the “Plan”) under Chapter 11 of the Bankruptcy Code (the
21   “Code”) proposes to pay creditors of Hortensia Carmona (the “Debtor”) from the personal services
22
     income and from cash flow from operations. This Plan provides for 8 classes of secured claims and
23
     2 classes of unsecured claims. The plan provides for the payment of secured claims. Any secured
24
25   creditor who accepts the collateral securing the claim accepts the collateral in full satisfaction of

26   creditor’s claim.
27            The current unsecured creditors holding allowed claims that will receive distributions in the
28
                                                                -1-
                                   HORTENSIA CARMONA’S PLAN OF REORGANIZATION, DATED JULY 15, 2013
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1    amount of $140,922.98.      In addition to the payment as set forth in the plan, whenever the

2    reorganized Debtor’s account exceeds thirty thousand ($30,000.00) dollars. Debtor shall segregate
3
     funds that exceed the $30,000.00 reserve in a separate account and shall distribute funds (not less
4
     than $5,000.00) to the unsecured creditors in Class 2B. Pro-rata means the entire amount of the
5
     excess divided by the entire amount owed to creditors with allowed claims in this class.
6
7           In addition, the unsecured creditors in Class 2B shall receive a pro-rata share of the net sales

8    proceeds from the sale of the real property Vacant Land Lot 13 in Duchesne Mini Ranch, UT. Pro-
9
     rata means the entire amount of the net sales proceeds divided by the entire amount owed to
10
     creditors with allowed claims in this class. The estimated net sales proceeds are $10,000.00.
11
            This Plan provides for the payment of administrative and priority claims. All creditors and
12
13   equity security holders should refer to Articles III through VI of this Plan for information regarding

14   the precise treatment of their claim. A disclosure statement that provides more detailed information
15
     regarding this Plan and the rights of creditors and equity security holders has been circulated with
16
     this Plan. Your rights may be affected. You should read these papers carefully and discuss them
17
     with your attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)
18
19                                       ARTICLE II
                           CLASSIFICATION OF CLAIMS AND INTERESTS
20
     2.01   Class 1.        Secured Claims
21
22          Class 1A

23          This class is comprised of the Secured Claim of Bank of America. (The “First Secured
24
     Claim”) which is asserted as a secured claim against the property located at 20535 Kenwood
25
     Avenue, Torrance, CA, reflected by a first deed of trust in the approximate amount of $365,261.70.
26
     [No claim has been filed by the Creditor.]
27
28
                                                              -2-
                                 HORTENSIA CARMONA’S PLAN OF REORGANIZATION, DATED JULY 15, 2013
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1           Class 1B

2           This class is comprised of the Secured Claim of The Bank of America. (The “First Secured
3
     Claim”) which is asserted as a secured claim against the property located at 9853-9855 Arabian
4
     Nights Street, El Paso, TX, reflected by a first deed of trust in the approximate amount of
5
     $102,411.67. [This appears on the claims register as Claim Number 10]
6
7           Class 1C

8           This class is comprised of the Secured Claim of Bank of New York Mellon. (The “Second
9
     Secured Claim”) which is asserted as a secured claim against the property located at 9853-9855
10
     Arabian Nights Street, El Paso, TX, reflected by a second deed of trust in the approximate amount of
11
     $11,208.59. [This appears on the claims register as Claim Number 8]
12
13          Class 1D

14          This class is comprised of the Secured Claim of Bank of America, N.A. (The “First Secured
15
     Claim”) which is asserted as a secured claim against the property located at 9857-9859 Arabian
16
     Nights Street, El Paso, TX, reflected by a first deed of trust in the approximate amount of
17
     $104,507.56. [This appears on the claims register as Claim Number 6]
18
19          Class 1E

20          This class is comprised of the Secured Claim of The Bank of New York Mellon fka The
21
     Bank of New York (The “Second Secured Claim”) which is asserted as a secured claim against the
22
     property on 9857-9859 Arabian Nights Street, El Paso, TX in the approximate amount of $8,466.64.
23
     [This appears on the claims register as Claim Number 9]
24
25          Class 1F

26          This class is comprised of the Secured Claim of Wells Fargo Bank, N.A. (The “First Secured
27
     Claim”) which is asserted as a secured claim against the property located at 1503 N. Frances Street,
28
                                                              -3-
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1    Terrell, TX reflected by a first deed of trust in the approximate amount of $47,932.74. [This appears

2    on the claims register as Claim Number 7]
3
              Class 1G
4
              This class is comprised of the Secured Claim of OneWest Bank, FSB. (The “First Secured
5
     Claim”) which is asserted as a secured claim against the property located at 881 E. 41st Street, Los
6
7    Angeles, CA reflected by a first deed of trust in the approximate amount of 484,590.49. [No claim

8    has been filed by this Creditor.]
9
              Class 1H
10
              This class is comprised of the Secured Claim of Bayview Loan Servicing, LLC (The “First
11
     Secured Claim”) which is asserted as a secured claim against the property located at 10113, 10113
12
13   ½, 10115 S. Main Street, Los Angeles, CA, reflected by a First deed of trust in the approximate

14   amount of $215,218.97. [This appears on the claims register as Claim Number 12]
15
              2.02   Class 2.         General Unsecured Creditors
16
     Class 2A. Administrative Convenience Claims.
17
18    Name of Creditor              Amount of Claim                   Amount to be Paid                       (%) to be Paid
19    Capital One, N.A.             $663.00                          $245.31                                  37%
      c/o Creditors Bankruptcy
20
      Kohl’s                        $691.00                          $255.67                                  37%
21
22    Target National Bank          $93.00                           $34.41                                   37%

23    Asset Acceptance LLC          $117.00                          $43.29                                   37%
      Discover Bank                 $450.00                          $166.50                                  37%
24    DB Servicing Corporation
25    (Claim 2)
      FIA Card Services, N.A.       $525.78                          $194.54                                  37%
26
      (Claim 3)
27    Total                         $2,539.78                        $939.72                                  37%
28
                                                               -4-
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1
            This class is comprised of all unsecured claim holders against Debtor including the above
2
     classes whose under secured portion of their claims are not secured by any assets of the Debtor. The
3
4    following is a list of allowed general Unsecured Claims that currently exist in the plan.

5    CLASS #2B                         Claim Amount                       IMPAIRED              TREATMENT
6    General Unsecured Claim                                              (Y/N)                 Payment Interval
     DESCRIPTION                                                                                Quarterly
7    Macy’s                            $2,817.00                          Y                     $52.11 Quarterly
                                                                                                Total Payout $1,042.29
8    Chase Bank                        $4,300.00                          Y                     $79.55 Quarterly
9                                                                                               Total Payout $1,591.00
     Wells Fargo Card Services         $6,825.82                          Y                     $126.28 Quarterly
10   (Claim 1)                                                                                  Total Payout $2,525.55
     American Express Bank, FSB        $1,002.92                          Y                     $18.55 Quarterly
11   (Claim 4)                                                                                  Total Payout $371.08
12   OneWest Bank, FSB                 $209,590.49                        Y                     $3,877.42 Quarterly
     (Unsecured Claim of Class                                                                  Total Payout $77,548.48
13   1G)
     Wells Fargo Bank                  $13,432.74                         Y                     $248.50Quarterly
14   (Unsecured Claim of Class                                                                  Total Payout $4,970.11
15   1F - Claim 7)
     Bank of New York Mellon           $8,466.64                          Y                     $156.63 Quarterly
16   (Unsecured Claim of Class                                                                  Total Payout $3,132.66
     1E - Claim 9)
17
     Bank of America                   $3,007.56                          Y                     $55.64 Quarterly
18   (Unsecured Claim of Class                                                                  Total Payout $1,112.80
     1D - Claim 6)
19   Bank of America                   $11,208.59                         Y                     $207.36 Quarterly
     (Unsecured Claim of Class                                                                  Total Payout $4,147.18
20
     1C - Claim 8)
21   The Bank of America               $27,411.67                         Y                     $507.12 Quarterly
     (Unsecured Claim of Class                                                                  Total Payout $10,142.32
22   1B - Claim 10)
23   Bank of America                   $90,269.70                         Y                     $1,669.99 Quarterly
     (Unsecured Claim of Class                                                                  Total Payout $33,399.79
24   1A)

25    Amount Class 2A Small Claims                                                              $2,539.78
26    Amount Class 2B General Unsecured                                                         $378,333.13
      Total Unsecured                                                                           $380,872.91
27
            2.03    Class 3.        The interests of the individual Debtor in property of the estate.
28
                                                               -5-
                                  HORTENSIA CARMONA’S PLAN OF REORGANIZATION, DATED JULY 15, 2013
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1
                                          ARTICLE III
2                      TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                        U.S. TRUSTEE'S FEES, AND PRIORITY TAX CLAIMS
3
4           3.01    Unclassified Claims. Under section §1123(a)(1), administrative expense claims, and

5    priority tax claims are not in classes.
6
            3.02    Administrative Expense Claims. Each holder of an administrative expense claim
7
     allowed under § 503 of the Code will be paid in full on the effective date of this Plan (as defined in
8
     Article VII), in cash, or upon such other terms as may be agreed upon by the holder of the claim and
9
10   the Debtor.

11          3.03    Priority Tax Claims. There are no priority tax claims.
12
            3.04    United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
13
     (U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or converted to
14
     another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective date of this
15
16   Plan will be paid on the effective date.

17                                   ARTICLE IV
                   TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN
18
19          4.01 Impairment of Claims:

20          The claims of Class 1A, 1B, 1C, 1D, 1F, 1G, 1H, 2A and 2B are impaired under the Plan.
21
     The claims of all other classes are unimpaired under the plan. All impaired classes are entitled to
22
     vote as set forth below:
23
     Claims and interests shall be treated as follows under this Plan:
24
25          4.02 Administrative Claims:

26          To the best of its knowledge, the Debtor is current with administrative creditors except with
27
     respect to the Debtor’s attorneys. Unpaid legal and professional fees owed to the Law Offices of
28
                                                                -6-
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1    Andrew H. Griffin, III is estimated to be approximately $15,000.00 as of the Effective Date of the

2    Plan.
3
             4.03 Class 1A
4
             The claim of The Bank of America, N.A, to the extent allowed as a secured claim under
5
     §506 of the Code. The claim is impaired. The legal, equitable and contractual rights to which such
6
7    claim entitles the holder of such claim are altered. Debtor intends to retain the real property located

8    at 20535 Kenwood Ave., Torrance, CA which is the collateral for the subject claim.
9
             On December 13, 2012, the Court entered an Order on Motion to Value the real property.
10
     (Docket No. 155) valuing the property in the amount of $275,000.00. Debtor will pay as a secured
11
     claim the amount equal to the value of the collateral that is $275,000.00. Debtor will pay the above
12
13   secured claim in full with interest from the Effective Date of the Plan through 360 equal monthly

14   payments. Payments will be due on the Fifth day of the month, starting the first month after the
15
     effective date. The remaining amount due of $90,261.70 is a general unsecured claim treated in
16
     Class 2B. The Creditor in this class shall retain its interest in the collateral until Debtor makes all
17
     payments under the plan and Debtor receives a discharge.
18
19           The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is

20   not in material default under the Plan. This secured claim is impaired and is entitled to vote on
21
     confirmation of the Plan.
22
             Class 1B
23
             The claim of Bank of America, N.A, to the extent allowed as a secured claim under §506 of
24
25   the Code. The claim is impaired. The legal, equitable and contractual rights to which such claim

26   entitles the holder of such claim are altered. Debtor intends to retain the real property located at
27
     9853-9855 Arabian Nights St., El Paso, TX. Debtor will pay as a secured claim the amount equal to
28
                                                               -7-
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1    the value of the collateral that is $75,000.00. Debtor will pay the above secured claim in full with

2    interest from the Effective Date of the Plan through 360 equal monthly payments. Payments will be
3
     due on the Fifth day of the month, starting the first month after the effective date. The remaining
4
     amount due of $27,411.61 is a general unsecured claim treated in Class 2B. The Creditor in this
5
     class shall retain its interest in the collateral until Debtor makes all payments under the plan and
6
7    Debtor receives a discharge.

8           The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is
9
     not in material default under the Plan. This secured claim is impaired and is entitled to vote on
10
     confirmation of the Plan.
11
            Class 1C
12
13          The claim of New York Mellon, to the extent allowed as a secured claim under §506 of the

14   Code on the property commonly known as 9853-9855 Arabian Nights St., El Paso, TX. The claim is
15
     impaired. The claims will be treated as wholly unsecured in the amount of $11,208.59 and treated in
16
     Class 2B.
17
            On March 11, 2013, the Court will hear a Motion to Value the real property valuing the
18
19   property in the amount of $75,000.00. Prior to confirmation, Debtor will obtain an order or

20   stipulation fixing the secured amount of the above creditor’s claims at zero. Debtor will pay nothing
21
     to this creditor as a secured claim. The claim of a creditor whose lien is stripped is a general
22
     unsecured claim treated in Class 2B.
23
            The Creditor in this class may not repossess or dispose of their collateral so long as Debtor is
24
25   not in material default under the Plan. This secured claim is impaired and is entitled to vote on

26   confirmation of the Plan.
27
28
                                                                 -8-
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1           Class 1D

2           The claim of Bank or America, to the extent allowed as a secured claim under §506 of the
3
     Code on the property commonly known as 9857-9859 Arabian Nights St., El Paso, TX. The claim is
4
     impaired. The legal, equitable and contractual rights to which such claim entitles the holder of such
5
     claim are altered.
6
7           The Bank of America, N.A., and the Debtor have entered into an agreement which terms are

8    fully incorporated into the plan and confirmed by Court Order. (Docket No. 160) The Stipulation is
9
     as follows:
10
     “1. The Arabian Nights Property will be valued at $101,500.00 for the purposes of this Chapter 11
11   case, the Disclosure Statement, and Plan;
     2. Bank of America’s first lien secured by the Arabian Nights Property will be bifurcated into a
12
     secured portion of $101,500.00, and the remainder will be deemed a general unsecured claim.
13   3. Bank of America’s secured claim of $101,500.00 shall be paid over 30 years at a fixed rate of
     4.3%.
14   4. The new maturity date with regard to the promissory note is December 1, 2042.
     5. Debtor’s first payment under this agreement will be due on January 1, 2013.
15
     6. All other terms of the Deed of Trust and Note will remain in full force and effect.
16   7. Bank of America will continue to impound Debtors’ account for taxes and insurance and Debtor
     is obligated to make her monthly escrow payment in addition to her principal and interest payment.
17   Debtor understands that this amount may vary from year to year.
     8. Payments shall be made directly to Bank of America: Bank of America N.A., P.O. Box 660933,
18
     with reference to the last four digits of the Loan Number 1931, or as otherwise directed.
19   9. Debtor agrees to incorporate the above agreed terms of lien treatment into any and all future
     Chapter 11 Plans or Amended Plans.
20   10. Bank of America agrees to vote for Debtor’s Chapter 11 Plan provided it reflects the agreed plan
     treatment, but reserves the right to object to any other terms of the plan that affect Bank of America
21   and are not covered in this stipulation.
22   11. If this Chapter 11 bankruptcy is dismissed or converted to another chapter under title 11, Bank of
     America’s first lien shall remain a valid secured lien for the full amount due under the original
23   Promissory Note and all payments received under this agreement will be applied contractually under
     the original terms of the Deed of Trust and original Promissory Note.”
24
25          Class 1E

26          The claim of The Bank of New York Mellon, to the extent allowed as a secured claim
27   under §506 of the Code. The claim is impaired. Debtor intends to retain the real property located at
28
                                                              -9-
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1    9857-9859 Arabian Nights St., El Paso, TX the collateral securing the claim. On December 17,

2    2012, the Court entered an Order on Motion to Value the real property (Docket No. 160) valuing the
3
     property in the amount of $101,500.00. Prior to confirmation, Debtor will obtain an order or
4
     stipulation fixing the secured amount of the above creditor’s claims at zero. Debtor will pay nothing
5
     to this creditor as a secured claim. The claim of a creditor whose lien is stripped is a general
6
7    unsecured claim treated in Class 2B.

8           The Creditor in this class may not repossess or dispose of their collateral so long as Debtor is
9
     not in material default under the Plan. This secured claim is impaired and is entitled to vote on
10
     confirmation of the Plan.
11
            Class 1F
12
13          The claim of Wells Fargo Bank, to the extent allowed as a secured claim under §506 of the

14   Code. The claim is impaired. The legal, equitable and contractual rights to which such claim entitles
15
     the holder of such claim are altered. Debtor intends to retain the real property located at 1503 N.
16
     Frances Street, Terrell, TX the collateral securing the claim.
17
     The parties have entered into a stipulation. The terms of the loan modification is as follows:
18
19   THE PARTIES STIPULATE AS FOLLOWS:

20          1.      Creditor shall have a secured claim in the amount of $37,418.44 to be amortized over
21
     30 years at a fixed interest rate of 4.75% per annum (the "Secured Claim").
22
            2.      Creditor shall have an unsecured claim in the amount of $12,023.30 (the “Unsecured
23
     Claim”). Creditor shall receive, in full and final satisfaction of its Unsecured Claim, its pro rata
24
25   share of the dividend issued to general unsecured creditors under Debtor’s Chapter 11 Plan, as

26   amended.
27
            3.      Debtor shall tender regular monthly payments of principal and interest to Creditor
28
                                                              - 10 -
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1    (and/or its servicer) in the amount of $195.19 on the first day of each month for the Secured Claim

2    commencing on October 1, 2013 and continuing on the first day of each month thereafter until
3
     September 1, 2043 when all outstanding amounts due under the Secured Claim are to be paid in full.
4
            4.      In addition to the principal and interest payment described in paragraph 3 of this
5
     Stipulation, Debtor shall tender to Creditor (and/or its servicer) all necessary escrow payments for
6
7    any and all real property taxes and/or real property insurance advances as required by Creditor

8    (and/or its servicer) and in accordance with any requirements under the Deed of Trust. Debtor shall
9
     tender the necessary escrow payments together with the regular monthly mortgage payments
10
     described in paragraph 3 above, commencing on October 1, 2013 and continuing on the first day of
11
     each month thereafter until September 1, 2043 at which time the Secured Claim and any related
12
13   escrow charges must be paid in full. The current amount of the escrow payment is $284.87;

14   however, Debtor understands the amount of this payment is subject to change.
15
            5.      In the event of any default on any of the provisions of this Stipulation, Creditor shall
16
     provide written notice, via certified mail, to Debtor at the Subject Property and to Debtor’s attorneys
17
     of record, provided the Debtor’s bankruptcy remains active, indicating the nature of default. If
18
19   Debtor fails to cure the default or payment default with certified funds after passage of thirty (30)

20   calendar days from the date said written notice is placed in the mail as reflected on the certified
21
     receipt, then the Automatic Stay shall terminate, unless it has already been terminated by operation
22
     of law, and Creditor (and/or its servicer) may proceed to foreclose its security interest in the Subject
23
     Property under the terms of the Note and Deed of Trust and pursuant to applicable state law and
24
25   thereafter commence any action necessary to obtain complete possession of the Subject Property,

26   including unlawful detainer, without further notice, order, or proceeding of this Court.
27
            6.      The acceptance by Creditor (and/or its servicer) of a late or partial payment shall not
28
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1    act as a waiver of Creditor’s right to proceed hereunder.

2           7.      Except as otherwise expressly provided herein, all remaining terms of the Note and
3
     Deed of Trust, which are incorporated herein by this reference, shall govern the treatment of
4
     Creditor’s Secured Claim.
5
            8.      In the event that Creditor is granted relief from the automatic stay, the parties hereby
6
7    stipulate that the 14-day stay provided by Bankruptcy Rule 4001(a)(3) is waived.

8           9.      In the event the Debtor defaults under this Stipulation and Creditor (and/or its
9
     servicer) forwards a 30-day default letter to Debtor, Debtor shall be required to tender Creditor’s
10
     reasonable attorneys’ fees and costs for each default letter submitted, in addition to the default stated
11
     therein, in order to cure the default. Any notice of default that Creditor (and/or its servicer) provides
12
13   Debtor and/or Debtor’s attorneys pursuant to this Stipulation shall not be construed as a

14   communication under the Fair Debt Collection Practices Act, 15 U.S.C. §1692.
15
            10.     At the request of the Creditor (and/or its servicer), Debtor shall execute such
16
     documents and instruments as required by Creditor (and/or its servicer) to reflect the Debtor as the
17
     borrower of the Secured Claim, and to modify the terms of the Loan obligation to conform to the
18
19   provisions of this Stipulation, as Creditor (and/or its servicer) deems necessary.

20          11.     In the event the Debtor seeks to sell the Subject Property at anytime prior to
21
     confirming her Chapter 11 Plan, as amended, or if she seeks to sell the Subject Property through her
22
     Chapter 11 Plan, Creditor shall be entitled to credit bid at any such sale in an amount not less than
23
     the unmodified, original outstanding balance owing under the terms of the Note and Deed of Trust
24
25   and/or exercise any of its rights pursuant to 11 U.S.C. §§ 363(b), (f) and (k) as applicable, and shall

26   be permitted to receive proceeds from the sale of the Subject Property in an amount not less than the
27
     unmodified, original outstanding balance owing under the terms of the Note and Deed of Trust at the
28
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1    time of said sale, with Creditor’s lien attaching to said proceeds in the same priority as its Deed of

2    Trust.
3
              12.   In the event the Debtor seeks to sell the Subject Property at anytime after her Plan is
4
     confirmed, but prior to the substantial consummation of the Debtor’s Chapter 11 Plan and receipt of
5
     a Chapter 11 discharge, Creditor (and/or its servicer) shall not be required to remove its lien
6
7    encumbering the Subject Property unless it receives proceeds from the sale of the Subject Property

8    in an amount not less than the unmodified, original outstanding balance owing under the terms of the
9
     Note and Deed of Trust. If the proposed sale of the Subject Property is for less than the unmodified,
10
     outstanding balance owing under the Note and Deed of Trust, then Creditor's consent must be
11
     obtained in writing prior to any such sale. In the event the Debtor seeks to sell the Subject Property
12
13   after substantial consummation of Debtor’s Chapter 11 Plan and receipt of a Chapter 11 discharge,

14   the foregoing requirements of this paragraph 12 shall no longer apply; however, in no event shall the
15
     sale of the Subject Property be for less than Creditor’s Secured Claim.
16
              13.   The terms of this Stipulation may not be modified, altered, or changed by the
17
     Debtor’s Chapter 11 Plan; any subsequently filed amended or modified Chapter 11 Plan of
18
19   Reorganization or any order on the foregoing without the express written consent of the Creditor.

20   The above terms of this Stipulation shall be incorporated into the Debtor’s Chapter 11 Plan and/or
21
     any subsequently filed amended or modified Chapter 11 Plan and confirmation order thereon. In the
22
     event of a conflict between the terms or provisions of this Stipulation and Debtor’s Chapter 11 Plan
23
     or any amendments or modifications thereto, the terms of this Stipulation shall control.
24
25            14.   The terms of this Stipulation are contingent upon the substantial consummation of the

26   Debtor’s confirmed Plan and receipt of a Chapter 11 discharge. In the event the Debtor defaults
27
     under the terms of this Stipulation or fails to complete Plan payments prior to receipt of a discharge,
28
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1    the provisions of this Stipulation shall be void.

2             15.    In the event Debtor’s case is dismissed or converted to any other chapter under Title
3
     11 of the United States Bankruptcy Code, Creditor shall retain its lien in the full, unmodified amount
4
     due under the Note and Deed of Trust, and the Automatic Stay shall be terminated without further
5
     notice, order or proceeding of the Court.
6
7             16.    In exchange for the forgoing, Creditor shall provide a ballot voting in favor of the

8    Debtor’s Chapter 11 Plan of Reorganization, as amended, for the Secured Claim and the Unsecured
9
     Claim.
10
              Class 1G
11
              The claim of OneWest Bank, to the extent allowed as a secured claim under §506 of the
12
13   Code. The claim is impaired. The legal, equitable and contractual rights to which such claim entitles

14   the holder of such claim are altered. Debtor intends to retain the real property located at 881 E. 41st
15
     street, Los Angeles, CA the collateral securing the claim.
16
              Debtor contends that the value of the collateral is less than the amount of the claim. On
17
     December 13, 2012, the Court entered an Order on Motion to Value the real property. (Docket No.
18
19   155) valuing the property in the amount of $275,000.00. Debtor will pay as a secured claim the

20   amount equal to the value of the collateral that is $275,000.00. Debtor will pay the above secured
21
     claim in full with interest from the Effective Date of the Plan through 360 equal monthly payments.
22
     Payments will be due on the Fifth day of the month, starting the first month after the effective date.
23
     The remaining amount due of $209,590.49 is a general unsecured claim treated in Class 2B.
24
25   Creditors in these classes shall retain their interest in the collateral until Debtor makes all payments

26   under the plan and Debtor receives a discharge.
27
              The Creditor in this class may not repossess or dispose of its collateral so long as Debtor is
28
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1    not in material default under the Plan. This secured claim is impaired and is entitled to vote on

2    confirmation of the Plan.
3
              Class 1H
4
              The claim of Bayview Loan Servicing., to the extent allowed as a secured claim under §506
5
     of the Code. The claim is impaired. The legal, equitable and contractual rights to which such claim
6
7    entitles the holder of such claim are altered. Debtor intends to retain the property located at 10113,

8    10113 ½, 10115 E. Main St., Los Angeles, CA.
9
              Debtor seeks to have the loan Modification to become fully incorporated into the plan. An
10
     application to approve the loan modification was filed with the Court (See Docket Number 167).
11
     Property to be Abandoned.
12
13    Class      Name of Creditor                                Description of Collateral
14    ---        No Secured Creditor Exists                      Vacant Land #3 – Mexico de Corte
15    ---        No Secured Creditor Exists                      30 Manzana Punta Azul, Rosarito, BC
16    ---        No Secured Creditor Exists                      Vacant Land #2 - de Lote 8 Manzana 11
                                                                 Valles de Mar, Rosarito, BC
17
      ---        No Secured Creditor Exists                      Vacant land - de Lote 9 Manzana 11 Valles
18                                                               Del Mar, Rosarito, BC
19    ---        No Secured Creditor Exists                      Calle 20 de Noviembre # 18, Ciudad Hidalgo
                                                                 House and Lot in Michoacán, Mexico
20
21            Debtor will abandon the above Mexican Properties by means of a Quitclaim Deed (Escritura

22   de Renuncia de derechos) on the Effective Date of the Plan. The confirmation order will constitute
23   an order for relief from stay as of the Effective Date of the Plan. Although Debtor asserts that there
24
     are no secured creditors, any secured claim is satisfied in full through the surrender of the collateral.
25
     Any deficiency claim is a general unsecured claim treated in Class 2B. Creditors in these classes
26
27   shall retain their interest in the collateral. If a secured claim exists, such secured claim is not

28
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1    impaired and is not entitled to vote on confirmation of the Plan.

2    Property to be Sold.
3
      Class       Name of Creditor               Property                                  Value of Collateral
4
5     ----        No Secured Creditor            Vacant Land Lot 13                        $13,500.00
                  Exists                         Duchesne Mini Ranch, UT
6
7             Debtor will sell the above Real Property by October 1, 2013, paying unsecured creditors
8
     from the proceeds of the sale. Although Debtor asserts that there are no liens against the Real
9
     Property, Debtor will file a motion for approval of any such sale on 28 days notice to any lien
10
     holders. Unless the court orders otherwise, a lienholder whose lien is not in bona fide dispute may
11
12   credit bid the amount of its lien at the sale. Any deficiency claim is a general unsecured claim

13   treated in Section 2B.
14            Class 2
15
              This class is comprised of all unsecured claim holders against Debtor including the above
16
     classes whose under secured portion of their claims are not secured by any assets of the Debtor. The
17
18   following is a list of allowed general Unsecured Claims that currently exist in the plan.

19   Class of General Unsecured Claims
20   Class 2A. Administrative Convenience Claims.
21
22    Name of Creditor               Amount of Claim                    Amount to be Paid                      (%) to be Paid
      Capital One, N.A.              $663.00                            $245.31                                37%
23    c/o Creditors Bankruptcy
24    Kohl’s                         $691.00                            $255.67                                37%
25    Target National Bank           $93.00                             $34.41                                 37%
26    Asset Acceptance LLC           $117.00                            $43.29                                 37%

27
28
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1     Discover Bank                  $450.00                            $166.50                                37%
      DB Servicing Corporation
2
      (Claim 2)
3     FIA Card Services, N.A.        $525.78                            $194.54                                37%
4     (Claim 3)
      Total                          $2,539.78                          $939.72                                37%
5
6             The Plan provides for holders of Allowed General Unsecured Claims. There will be pro rata
7    Cash payments to Unsecured Creditors. The pro rata shall be 37% percent, paid at the rate of
8
     $7,046.15 each quarter. Creditors will receive quarterly payments described above. The estate Real
9
     Properties have deferred maintenance, but after loan modifications and creditor negotiations they
10
11   generate sufficient cash flow to pay the debt service and property improvement. Debtor has budgeted

12   $4,287.88 for unexpected emergencies, capital improvements, repairs and/or vacancies each month
13   which will be used towards the payment of Class 2B claims once a reserve of $30,000.00 is attained.
14
     In addition to the payments as set forth above, unsecured creditors in Class 2B will receive a pro-rata
15
     share of such excess of the excess over thirty thousand ($30,000.00) dollars. Debtor shall segregate
16
17   funds that exceed the $30,000.00 reserve in a separate account and shall distribute funds (not less

18   than $5,000.00) to the unsecured creditors in Class 2B. Pro-rata means the entire amount of the
19   excess divided by the entire amount owed to creditors with allowed claims in this class.
20
              In addition, the unsecured creditors in Class 2B shall receive a pro-rata share of the net sales
21
     proceeds from the sale of the real property Vacant Land Lot 13 in Duchesne Mini Ranch, UT. Pro-
22
23   rata means the entire amount of the net sales proceeds divided by the entire amount owed to

24   creditors with allowed claims in this class. The estimated net sales proceeds are $10,000.00.
25            Generally, payments on the Allowed General Unsecured Claims shall be made on a quarterly
26
     basis after the Effective Date if the Debtor is current with Secured Creditors. The Allowed General
27
     unsecured Claims that are not paid in full from distributions within the Plan shall be discharged
28
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1    (subject to Debtor’s motion pursuant to 11 USC Section 1141) at the expiration of sixty (60) months

2    form the Effective Date (“Discharge Date”). The Debtor reserves the right to seek an order from the
3
     bankruptcy court granting a discharge of his debts before the Discharge Date through a noticed
4
     motion. Notwithstanding the occurrence of the Discharge Date the Reorganized Debtor’s bankruptcy
5
     will remain open for the purpose of disbursing proceeds in accordance with this plan. The financial
6
7    projections were made utilizing the historical information and post confirmation stipulations and

8    loan modifications the secured lenders in the rental properties. The projections do not account for
9
     unexpected emergencies, capital improvements, repairs and/or vacancies.
10
                   Class                   Impairment                                      Treatment
11
12    Class 1 - Secured Claim of          Impaired.               Class 1A Property to be retained. Claim to be
      1A) The Bank of America, N.A                                treated as partially secured ($275,000.00) and
13                                                                partially unsecured ($90,261.70) in Class 2
      1B) Bank of America, N.A.           Impaired.               Class 1B Property to be retained. Claim to be
14                                                                treated as partially secured ($75,000.00) and
15                                                                partially unsecured ($27,411.61) in Class 2.
      1C) Bank of New York                Impaired.               Class 1C Property to be retained. Claim to be
16    Mellon                                                      treated in Class 2 as Wholly unsecured
                                                                  ($11,208.59).
17    1D) Bank of America                 Impaired.               Class 1D Property to be retained. Claim to be
18                                                                treated as partially secured ($101,500.00) and
                                                                  partially unsecured ($3,007.56) in Class 2
19    1E) The Bank of New York            Impaired.               Class 1E Property retained. Claim to be treated
      Mellon                                                      in Class 2 as Wholly unsecured ($8,466.64).
20
21    1F) Wells Fargo Bank, N.A.          Impaired.               Class 1F Property to be retained. Claim to be
                                                                  treated as partially secured ($34,500.00) and
22                                                                partially unsecured ($13,432.74) in Class 2
      1G) OneWest Bank, FSB               Impaired.               Class 1G Property to be retained. Claim to be
23
                                                                  treated as partially secured ($275,000.00) and
24                                                                partially unsecured ($209,590.49) in Class 2.
      1H) Bayview Loan                    Impaired.               Class 1H Property to be retained. Claim to be
25    Servicing, LLC                                              treated as wholly secured through a loan
                                                                  modification.
26
27   CLASS #2B                       Claim Amount                       IMPAIRED              TREATMENT
     General Unsecured Claim                                            (Y/N)                 Payment Interval
28
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1    DESCRIPTION                                                                               Quarterly
     Macy’s                           $2,817.00                          Y                     $52.11 Quarterly
2                                                                                              Total Payout $1,042.29
3    Chase Bank                       $4,300.00                          Y                     $79.55 Quarterly
                                                                                               Total Payout $1,591.00
4    Wells Fargo Card Services        $6,825.82                          Y                     $126.28 Quarterly
     (Claim 1)                                                                                 Total Payout $2,525.55
5    American Express Bank, FSB       $1,002.92                          Y                     $18.55 Quarterly
6    (Claim 4)                                                                                 Total Payout $371.08
     OneWest Bank, FSB                $209,590.49                        Y                     $877.42 Quarterly
7    (Unsecured Claim of Class                                                                 Total Payout $77,548.48
     1G)
8    Wells Fargo Bank                 $13,432.74                         Y                     $248.51 Quarterly
9    (Unsecured Claim of Class                                                                 Total Payout $4,970.11
     1F - Claim 7)
10   Bank of New York Mellon          $8,466.64                          Y                     $156.63 Quarterly
     (Unsecured Claim of Class                                                                 Total Payout $3,132.66
11
     1E - Claim 9)
12   Bank of America                  $3,007.56                          Y                     $55.64 Quarterly
     (Unsecured Claim of Class                                                                 Total Payout $1,112.80
13   1D - Claim 6)
     Bank of America                  $11,208.59                         Y                     $207.36 Quarterly
14
     (Unsecured Claim of Class                                                                 Total Payout $4,147.18
15   1C - Claim 8)
     The Bank of America              $27,411.67                         Y                     $507.12 Quarterly
16   (Unsecured Claim of Class                                                                 Total Payout $10,142.32
     1B - Claim 10)
17
     Bank of America                  $90,269.70                         Y                     $1,669.99 Quarterly
18   (Unsecured Claim of Class                                                                 Total Payout $33,399.79
     1A)
19
20    Amount Class 2A Small Claims                                                             $2,539.78
      Amount Class 2B General Unsecured                                                        $378,333.13
21    Total Unsecured                                                                          $380,872.91
22                                     ARTICLE V
23                        ALLOWANCE AND DISALLOWANCE OF CLAIMS

24          5.01    Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed
25   and as to which either: (i) a proof of claim has been filed or deemed filed, and the Debtor or another
26
     party in interest has filed an objection; or (ii) no proof of claim has been filed, and the Debtor have
27
     scheduled such claim as disputed, contingent, or unliquidated.
28
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1           5.02    Delay of Distribution on a Disputed Claim. No distribution will be made on account

2    of a disputed claim unless such claim is allowed.
3
            5.03    Settlement of Disputed Claims. The Debtor will have the power and authority to
4
     settle and compromise a disputed claim with court approval and compliance with Rule 9019 of the
5
     Federal Rules of Bankruptcy Procedure.
6
7                                  ARTICLE VI
            PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES
8
            6.01    Assumed Executory Contracts and Unexpired Leases.
9
10   (a)    The Debtor assumes the following executory contracts and/or unexpired leases effective

11   upon the date of the entry of the order confirming this Plan, or other applicable date:
12
       Name of Other Parties to Lease or Contract                           Description of Contract or
13                                                                          Lease
       All tenants of Debtor located at:
14     A.) 10113, 10113 ½, 10115 S. Main Street, Los                        Residential Lease
       Angeles, CA
15
       B.) 20535 Kenwood Avenue, Torrance, CA                               Residential Lease
16     C.) 881 E. 41st Street, Los Angeles, CA                              Residential Lease
       D.) 1503 N. Frances Street, Terrell, TX                              Residential Lease
17     E.) 9853-9855 Arabian Nights Street, El Paso, TX                     Residential Lease
       F.) 9857-9859 Arabian Nights Street, El Paso, TX                     Residential Lease
18
19   (b)    The Debtor will be conclusively deemed to have rejected all executory contracts and/or

20   unexpired leases not expressly assumed under section 6.01(a) above, or before the date of the order
21
     confirming this Plan, upon the effective date of this Plan. A proof of a claim arising from the
22
     rejection of an executory contract or unexpired lease under this section must be filed no later than
23
     twenty (20) days after the date of the order confirming this Plan.
24
25
26
27
28
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1                                         ARTICLE VII
                             MEANS FOR IMPLEMENTATION OF THE PLAN
2
               7.01 Reorganized Debtor. On the Effective Date of the Plan, Hortensia Carmona shall
3
4    become the Reorganized Debtor, and shall continue to operate its business. Debtor will have

5    approximately $35,369.99 on effective date to pay administrative claims and allowed unsecured
6
     claims.
7
               7.02 Distributions on Effective Date of the Plan. On the Effective Date of the Plan, the
8
     Reorganized Debtor shall pay the following Claims in full:
9
10             1.     Unpaid United States Trustee fees calculated to the Effective Date of the Plan; and

11             2.     Administrative Claims.
12
               7.03 Distributions Within Thirty (30) Days After the Effective Date of the Plan.
13
     (Administrative Convenience Claims). On or before (thirty) 30 days after the Effective Date of the
14
     Plan, the Reorganized Debtor shall pay all Administrative Convenience Unsecured Claims in full, in
15
16   cash. Administrative Convenience claims are claims $1,000.00 or less, or which are reduced by

17   creditors to $1,000.00.
18
               7.04 Insiders Employed by Reorganized Debtor. After the Effective Date of the Plan the
19
     officers and directors of the Reorganized Debtor, and their compensation, will be as follows:
20
               Insider                          Position                                   Compensation
21
               Hortensia Carmona                Debtor                                     $6,189.97 per month
22
               7.05 Further Financial Reorganization. Prior to substantial consummation of the Plan, to
23
     the extent the Reorganized Debtor finds it (i) desirable to do so to accelerate performance of the
24
25   Plan, or (ii) necessary to do so, it may seek a modification of the Plan which may provide for further

26   reorganization.
27
28
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1           7.06 Enforcement of Claims. After the Effective Date of the Plan, the Reorganized Debtor

2    shall retain and enforce claims belonging to the Estate. Such claims include, without limitation,
3
     claims based on the avoiding powers contained in 11 U.S.C. §§544, 545 and 547 – 553, inclusive.
4
            7.07 Grace Period. Except as otherwise specifically provided in this Plan, actions required
5
     to be taken by the Reorganized Debtor shall be accomplished as quickly as practicable after the
6
7    Effective Date of the Plan. Any payment or act required to be made or done under this Plan shall be

8    made or done no later than thirty (30) days after the date such payment is required to be made.
9
            7.08 Retained Bankruptcy Court Jurisdiction. The jurisdiction of the Court shall continue
10
     after the Effective Date of the Plan, whether or not the case is closed, with respect to the following:
11
            7.08.1 Determination of the allowability of deficiency claims, disputed claims, together with
12
13   the claims of Debtor for affirmative relief;

14          7.08.2 Assumption or rejection of unexpired leases and executory contracts, and
15
     determination of disputed claims arising out of rejections;
16
            7.08.3 Determination of any tax liability under §505 of the Bankruptcy Code;
17
            7.08.4 Determinations of requests for payment of claims entitled to priority under
18
19   §507(1)(1) of the Bankruptcy Code;

20          7.08.5 Resolution of any disputes regarding interpretation of the Plan;
21
            7.08.6 Implementation or modification of the provisions of the Plan and entry of orders in aid
22
     of consummation of the Plan, including without limitation appropriate orders to protect the
23
     Reorganized Debtor from creditors’ actions and to enforce the injunction referred to in Section 7.10
24
25   of this Plan; and

26          7.08.7 Adjudication of any claims for relief by the Reorganized Debtor based on transactions
27
     or events which arose before or after the date of the petition or the Effective Date of the Plan,
28
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1    including without limitation, claims for relief on behalf of the Estate based on avoiding powers in

2    §§544, 545 and 547 -553, inclusive, of the Code.
3
            Section 7.9 Effects of Confirmation of the Plan. Confirmation of the Plan:
4
            Sub-Section 7.9.1 Binds the Reorganized Debtor, any creditor, and any person or entity
5
     acquiring property under the Plan, to the Plan’s provisions;
6
7           Sub-Section 7.9.2 Vests all of the property of the Estate in the Reorganized Debtor free and

8    clear of all claims and interest of creditors, except as otherwise provided in the Plan;
9
            Sub-Section 7.9.3 Discharges the Reorganized Debtor from any debt that arose before
10
     confirmation of the Plan except as provided in the Plan;
11
            Sub-Section 7.9.4 Voids any judgment at any time obtained, to the extent that such judgment
12
13   is a determination of the personal liability of Hortensia Carmona with respect to a debt discharged;

14   and
15
            Sub-Section 7.9.5 Operates as an injunction against the commencement or continuation of
16
     an action, the employment of process, or an act to collect, recover or offset any such debt as a
17
     personal liability of Hortensia Carmona.
18
19          7.10 Injunctions Against Action to Enforce Pre-Plan Confirmation Debts. The order

20   confirming the Plan shall include a provision that enjoins all parties in interest: (i) from taking any
21
     action to recover property from the Reorganized Debtor on account of a debt that arose before
22
     confirmation of the Plan; and (ii) against the commencement or continuation of an action, the
23
     employment of process, or an act, to collect, recover or offset any such debt that arose before
24
25   confirmation of the Plan.

26
27
28
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1            7.11 Retiree Benefits. Debtor was not obligated, prior to the Petition Date, to pay retiree

2    benefits, as that term is defined in §1114 of the Bankruptcy Code, and undertakes no obligation to
3
     do so after the Effective Date of the Plan.
4
             7.12 Choice of Law; Venue. To the extent not inconsistent with United States Bankruptcy
5
     Law, the laws of the State of California shall apply with respect to the interpretation and
6
7    enforcement of the Plan. Any action to interpret or enforce the Plan, and of its provisions or any

8    instrument executed pursuant to provisions of the Plan, may be brought either in the United States
9
     Bankruptcy Court, Southern District of California or in the Superior Court, San Diego County.
10
             7.13 Special Notice. The Reorganized Debtor shall compile and maintain, and make
11
     available to interest parties, a Special Notice list. The List shall contain the names and address of all
12
13   parties in interest who after the Effective Date of the Plan, ask, in writing, to be added to the List.

14   The Order Confirming the Plan shall contain a provision advising all parties in interest of their
15
     opportunity to request special notice of actions proposed to be taken. A copy of the Order shall be
16
     served by first class mail on all parties in interest. No notice of any motion, application or action
17
     proposed to be taken after the Effective date of the Plan need be given to any party not on the
18
19   Special Notice List.

20           7.14 Debtor’s option to seek Plan Confirmation under 11 U.S.C. Section 1129(b)(2). If
21
     necessary, the Debtor may seek confirmation of this Plan pursuant to §1129(b)(1) of the Bankruptcy
22
     Code.
23
             7.15 DEFAULT PROVISIONS
24
25           The following are Events of Default under the Plan:

26           Notwithstanding any contrary provision in the Disclosure Statement, any pleading or other
27
     document filed in this case, or any other document, contract or agreement, and except as provided
28
                                                              - 24 -
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1    for, should the debtor fail to make any payment, or to perform any other obligation required under

2    the Plan, for more than 10 days after the time specified in the Plan for such payment or other
3
     performance, any party in interest adversely affected by such failure may give the Debtor notice, in
4
     writing, and filed with the Court of such failure to perform (a “Notice of Default”). If Debtor fails
5
     within 30 days after the date of service of the notice of default either: (i) to cure the default; (ii) to
6
7    obtain from the court an extension of time to cure the default; or (iii) to obtain from the court a

8    determination that no default occurred, then Debtor is in Material Default under the Plan to all the
9
     members of the affected class. The adversely affected party may file a motion with the Court to
10
     determine what relief may be appropriate because of such default, including but not limited to the
11
     entry of an order to timely perform under the Plan, dismissal of the case, or conversion of the case to
12
13   one under Chapter 7, provided, however that if a final decree closing this case has been entered by

14   the Court, the adversely affected party may seek its judicial or nonjudicial relief in state court. The
15
     triggering event of default under the Plan shall be the filing of a written notice of default with the
16
     Bankruptcy Court.
17
            A. Post-Confirmation Conversion/Dismissal
18
19          A Creditor or party in interest may bring a motion to convert or dismiss the case under

20   §1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court orders
21
     the case converted to Chapter 7 after the Plan is confirmed, than all property that had been property
22
     of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan will revest in the
23
     Chapter 7 estate. The automatic stay will be reimposed upon the revested property, but only to the
24
25   extent that relief from stay was not previously authorized by the Court during this case.

26          B. Revocation of the Order Confirming the Plan.
27
            The order confirming the Plan may also be revoked under very limited circumstances. The
28
                                                              - 25 -
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1    Court may revoke the order if the order of confirmation was procured by fraud and if a party in

2    interest brings an adversary proceeding to revoke confirmation with 180 days after the entry of the
3
     order of confirmation.
4
                                                  ARTICLE VIII
5                                              GENERAL PROVISIONS
6
            8.01    Definitions and Rules of Construction. The definitions and rules of construction set
7
     forth in §§101 and 102 of the Code shall apply when terms defined or construed in the Code are
8
     used in this Plan, and they are supplemented by the following definitions:
9
10          8.02    Effective Date of Plan. The effective date of this Plan is the eleventh business day

11   following the date of the entry of the order of confirmation. But if a stay of the confirmation order is
12
     in effect on that date, the effective date will be the first business day after that date on which no stay
13
     of the confirmation order is in effect, provided that the confirmation order has not been vacated.
14
            8.03    Severability. If any provision in this Plan is determined to be unenforceable, the
15
16   determination will in no way limit or affect the enforceability and operative effect of any other

17   provision of this Plan.
18
            8.04    Binding Effect. The rights and obligations of any entity named or referred to in this
19
     Plan will be binding upon, and will inure to the benefit of the successors or assigns of such entity.
20
            8.05    Captions. The headings contained in this Plan are for convenience of reference only
21
22   and do not affect the meaning or interpretation of this Plan.

23                                                      ARTICLE IX
                                                        DISCHARGE
24
25          9.01    Discharge. Confirmation of this Plan does not discharge any debt provided for in this

26   Plan until the court grants a discharge on completion of all payments under this Plan, or as otherwise
27
     provided in §1141(d)(5) of the Code. The Debtor will not be discharged from any debt excepted
28
                                                                - 26 -
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1    from discharge under §523 of the Code, except as provided in Rule 4007(c) of the Federal Rules of

2    Bankruptcy Procedure.
3
                                             ARTICLE X
4                                     MISCELLANEOUS PROVISIONS

5           10.1 Completion of Plan: This Plan shall be deemed completed upon the Reorganized Debtor
6
     making all distributions from the Plan Distribution Account and other payments required under the
7
     Plan as provided above. Notwithstanding the foregoing, the Plan will be deemed completed eight-
8
     four (84) months after the Effective Date.
9
10          10.2 Substantial Consummation: As of the Effective Date, upon the execution and delivery

11   of the Plan Documents and commencement of distributions under the Plan, the Debtor may seek an
12
     order from the Bankruptcy Court determining that the Plan has been substantially consummated
13
     pursuant to section 1101 of the Bankruptcy Code.
14
            10.3 Amendments:
15
16          10.3.1 Plan Modifications: This Plan may be amended, modified, or supplemented by the

17   Reorganized Debtor in the manner provided for by section 1127 of the Bankruptcy Code or as
18
     otherwise permitted by law, without additional disclosure pursuant to section 1125 of the
19
     Bankruptcy Code, except as the Bankruptcy Court may otherwise direct. In addition, after the
20
     Confirmation Date, so long as such action does not materially and adversely affect the treatment of
21
22   holders of Claims pursuant to this Plan, the Reorganized Debtor may institute proceedings in the

23   Bankruptcy Court to remedy any defect or omission or reconcile any inconsistencies in this Plan, the
24
     Plan Documents and/or the Confirmation Order, with respect to such matters as may be necessary to
25
     carry out the purposes and effects of this Plan.
26
27
28
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1           10.3.2 Other Amendments: Prior to the Effective Date, the Debtor may make appropriate

2    technical adjustments and modifications to this Plan without further order or approval of the
3
     Bankruptcy Court; provided, however, that such technical adjustments and modifications do not
4
     adversely affect in a material way the treatment of holders of Claims.
5
            10.4 Revocation or Withdrawal of this Plan: The Debtor reserves the right to revoke or
6
7    withdraw this Plan prior to the Effective Date. If the Debtor takes such action, this Plan shall be

8    deemed null and void.
9
            10.5 Cramdown: In the event a Class votes against this Plan, and this Plan is not withdrawn
10
     as provided above, the Debtor reserves the right to seek a “cramdown” of this Plan pursuant to
11
     section 1129(b) of the Bankruptcy Code. To the extent any Class is deemed to reject this Plan by
12
13   virtue of the treatment provided to such Class, this Plan shall be “crammed down” on the claimants

14   within such Class pursuant to section 1129(b) of the Bankruptcy Code.
15
            10.6 Confirmation Order: The Confirmation Order shall, and is hereby deemed to, ratify all
16
     transactions effected by the Debtor during the period commencing on the Petition Date and ending
17
     on the Confirmation Date except for any acts constituting willful misconduct, gross negligence,
18
19   recklessness or fraud.

20          10.7 Severability: If, prior to the entry of the Confirmation Order, any term or provision of
21
     this Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy
22
     Court, at the request of the Debtor, shall have the power to alter and interpret such term or provision
23
     to make it valid or enforceable to the maximum extent practicable, consistent with the original
24
25   purpose of the term or provision held to be invalid, void, or unenforceable, and such term or

26   provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
27
     alteration, or interpretation, the remainder of the terms and provisions of this Plan will remain in full
28
                                                               - 28 -
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1    force and effect and will in no way be affected, impaired, or invalidated by such holding, alteration,

2    or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
3
     that each term and provision of this Plan, as it may have been altered or interpreted in accordance
4
     with the foregoing is valid and enforceable pursuant to its terms.
5
             10.8 Governing Law: Except to the extent that the Bankruptcy Code or other federal law is
6
7    applicable, or to the extent a Plan Document provides otherwise, the rights, duties, and obligations

8    arising under this Plan and the Plan Documents shall be governed by, and construed and enforced in
9
     accordance with, the laws of the Sate of California, without giving effect to the principles of conflict
10
     of laws thereof.
11
             10.9 Section 1125(e) of the Bankruptcy Code: The Debtor has, and upon confirmation of this
12
13   Plan shall be deemed to have, solicited acceptances of this Plan in good faith and in compliance with

14   the applicable provisions of the Bankruptcy Code, and the Debtor (and each of her respective
15
     affiliates, agents, directors, officers, employees, advisors and attorneys) has participated in good
16
     faith and in compliance with the applicable provisions of the Bankruptcy Code in the offer, issuance,
17
     sale and purchase of the securities offered and sold under this Plan, and therefore is not, and on
18
19   account of such offer, issuance, sale, solicitation and/or purchase will not be, liable at any time for

20   the violation of any applicable law, rule, or regulation governing the solicitation of acceptance or
21
     rejections of this Plan or offer, issuance, sale or purchase of the securities offered and sold under this
22
     Plan.
23
             10.10 Expedited Determination: The Reorganized Debtor is hereby authorized to file a
24
25   request for expedited determination under section 502(b) of the Bankruptcy Code for all tax returns

26   filed with respect to the Debtor, or the Reorganized Debtor, as the case may be.
27
28
                                                              - 29 -
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1           10.11 Time Bar to Payments: The Debtor shall stop payment on any distribution check that

2    has not cleared through the Distribution Account within ninety (90) days of the date of issuance
3
     thereof. Requests for re-issuance of any such checks shall be made directly to the Debtor by the
4
     holder of the Allowed Claim with respect to which such check was issued. Any claim in respect of
5
     such voided check shall be made within one hundred and eighty (180) days after the date of the
6
7    issuance of such voided check. If no claim is made as provided herein, all Claims in respect of

8    voided checks shall be discharged and forever barred. The amount represented by such unclaimed
9
     checks, and those undeliverable, after commercially reasonable diligence, shall be distributed pro-
10
     rata to the remaining holders of Allowed Claims, pursuant to the terms of this Plan. Distributions to
11
     holders of Allowed Claims shall be made to their last known address, which shall be presumed to be
12
13   as set forth on the proof of claim filed by such Claimant, or if no proof of claim was filed, on the

14   Schedules filed by the Debtor as may have been amended from time to time, unless a Claimant shall
15
     have supplied a new or corrected address in writing to the Debtor within two weeks prior to a
16
     Distribution to permit the Debtor to revise its records accordingly.
17
            10.12 Fractional Distributions: Notwithstanding anything to the contrary contained in the
18
19   Plan, no Cash payments of fraction of cents shall be made. Fractional cents shall be rounded to the

20   nearest whole cent.
21
            10.13 Time: In computing any period of time prescribed or allowed by this Plan, unless
22
     otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
23
     Rule 9006 shall apply.
24
25          10.14 Waiver of Bankruptcy Rule 7062: The Confirmation Order shall include: (i) a finding

26   that Bankruptcy Rule 7062 shall not apply to the Confirmation Order; and (ii) authorization for the
27
     Debtor to consummate the Plan immediately after entry of the Confirmation Order.
28
                                                               - 30 -
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1           10.15 Compliance with Tax Requirements: In connection with the Plan, the Debtor and the

2    Reorganized Debtor, as applicable, shall comply with all withholding and reporting requirements
3
     imposed by federal, state, local and foreign taxing authorities and any distributions under the Plan,
4
     shall be subject to such withholding and withholding requirements. Notwithstanding the foregoing,
5
     each holder of an Allowed Claim that is to receive a distribution under the Plan shall have the sole
6
7    and exclusive responsibility for the satisfaction and payment of any tax obligations, on account of

8    any distributions. The Debtor has the right, but not the obligation, to not make a distribution until
9
     such holder has made arrangements satisfactory to the Debtor for the payment of any tax
10
     obligations.
11
            10.16 Notices: All notices, requests and demands to or upon the Debtor and the Reorganized
12
13   Debtor, to be effective shall be in writing (including facsimile transmission) and, unless otherwise

14   provided herein, shall be deemed to have been duly given or made only when actually delivered or,
15
     in the case of notice by facsimile transmission, when received and telephonically confirmed,
16
     addressed as follows:
17
     If to Debtor:
18
19   Hortensia Carmona
     P.O. Box 62932
20   Los Angeles, CA 90062
21
     And
22
     Andrew H. Griffin, III, Esq.
23   Law Offices of Andrew H. Griffin, III
     275 E. Douglas Avenue, Suite 112
24   El Cajon, California 92020
25   Telephone Number (619) 440-5000
     Fax Number (619) 440-5991
26
27
28
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1              10.17 Exhibits: All exhibits and schedules to this Plan, including the Plan Supplement if any,

2    are incorporated by reference into this Plan and are made a part hereof as if more fully set forth
3
     herein.
4
               10.18 Binding Effect: The provisions of this Plan (including the Exhibits and schedules to,
5
     and all documents and agreements executed pursuant to or in connection with this Plan) and the
6
7    Confirmation Order shall be binding on (i) Debtor, (ii) all orders of Claims against the Debtor,

8    whether or not impaired under the Plan and whether or not such holders have accepted or rejected
9
     the Plan, (iii) each Person or entity receiving, retaining or otherwise acquiring property pursuant to
10
     the terms of the Plan, (iv any non-Debtor part to an executory contract or unexpired lease with the
11
     Debtor, (v) and any Person or entity making an appearance in this Reorganization Case, and (vi)
12
13   each of the foregoings’ respective heirs, successors, assigns, executors, administrators, officers,

14   directors and agents.
15
               10.19 Business Records: The Debtor’s business records shall be maintained at Debtor’s
16
     present business location.
17
               10.20 Means for Execution of Plan Reorganization: The Payment to be made under the Plan
18
19   will be funded from the revenues of the rental properties that shall be utilized to make the required

20   distributions to creditors for a period not to exceed sixty (60) months from the Effective Date of the
21
     Plan. After the Effective Date of the Plan, the business shall be run by the Debtor. The Debtor shall
22
     be entitled to retain all earnings of the Debtor received after the Effective Date of the Plan subject
23
     only to the payment requirements of the Plan.
24
25             The Debtor will market real property in Debtor in effort to reduce the non-income producing

26   economic burden of the Estate. Debtor will sell or abandon the above real property by September
27
     2013, paying the unsecured creditors from the proceeds of the sale. Debtor will file a motion for
28
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1    approval of any such sale on 28 days notice to lienholders whose lien is not in bona fide dispute may

2    credit bid the amount of its lien at the sale. Any deficiency claim is a general unsecured claim
3
     treated in Part 2B.
4
            The financial projections were made utilizing the historical information and post
5
     confirmation stipulations and loan modifications the secured lenders in the rental properties. The
6
7    projections do not account for unexpected emergencies, capital improvements, repairs and/or

8    vacancies. In addition to the payment as set forth in the plan, whenever the reorganized Debtor’s
9
     account exceeds thirty thousand ($30,000.00) dollars. Creditors will receive a pro-rata share of such
10
     excess. Pro-rata means the entire amount of the excess divided by the entire amount owed to
11
     creditors with allowed claims in this class.
12
13          10.21 Post- Confirmation Employment and Compensation of Reorganized Debtor’s

14   Professionals:
15
            After the Confirmation Date, the Reorganized Debtor may employ, without notice, hearing,
16
     or order of the Bankruptcy Court, such attorneys, accountants, and other professionals (the “Post-
17
     confirmation Professionals”) as they may desire to render services on such terms as they deem
18
19   reasonable. With respect to services rendered by the Post-confirmation Professionals, the

20   Reorganized Debtor shall be authorized to pay for such services, related costs, and expenses without
21
     notice, hearing, or order of the Bankruptcy.
22
            10.22 Post-Confirmation Status Reports and Final Decree:
23
            The Reorganized Debtor shall file status reports with the Bankruptcy Court on a quarterly
24
25   basis after entry of the Confirmation Order, describing the progress toward consummation of the

26   Plan. The status reports shall be served on, among others, counsel for the United States Trustee.
27   When the Plan is fully administered in all material respects as referred to in Bankruptcy Rule 3022,
28
                                                              - 33 -
                                  HORTENSIA CARMONA’S PLAN OF REORGANIZATION, DATED JULY 15, 2013
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1    the Reorganized Debtor or other party as the Court shall designate in the Plan Confirmation Order,

2    shall file an application for a final decree and a proposed final decree closing this Reorganization
3
     Case. A final decree may be issued notwithstanding that future payments may remain due under the
4
     Plan.
5
             10.23 Compliance with Post-Confirmation Reporting and U.S. Trustee’s Fees:
6
7            On the Effective Date of the Pan, Debtor shall be impressed with the duty to comply with the

8    post-confirmation requirements and U.S. Trustee fees set forth in 28 U.S.C. Section 1930(a)(b).
9
                                         ARTICLE XI
10                            CONCLUDING STATEMENTS BY DEBTOR

11           Since the filing for bankruptcy, Debtor has worked diligently to protect and preserve the
12
     assets of the estate and the collective rights of its creditors and to promulgate a Plan of
13
     Reorganization for repayment of claims to all of her creditors. Debtor has prepared this Plan in an
14
     attempt to treat all creditors in a fair and equitable fashion as provided for by the provisions of the
15
16   United States Bankruptcy Code.

17           In summary, Debtor believes that acceptance of this Plan will be in the best interest of
18   Debtor’s reorganization and payment of all of her creditor’s claims to the greatest extent possible.
19
20   By: /s/ Hortensia Carmona
     Hortensia Carmona, The Plan Proponent
21
22   By: /s/ Andrew H. Griffin, III
     Andrew H. Griffin, III, Attorney for the Plan Proponent
23
24
25
26
27
28
                                                             - 34 -
                                 HORTENSIA CARMONA’S PLAN OF REORGANIZATION, DATED JULY 15, 2013
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                     Exhibit “B”
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 1       Month 2      Month 3       Month 4
Beginning Cash                                $0.00       $4,458.52    $8,917.04     $13,375.56

INCOME
Kaiser Permanente                           $9,145.79     $9,145.79    $9,145.79      $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00     $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00     $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00     $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00       $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85     $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00     $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64    $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                        $1,553.00     $1,553.00    $1,553.00      $1,553.00
9853-9855 Arabian Night St.                  $675.73       $675.73      $675.73        $675.73
9857-9859 Arabian Night St.                  $884.50       $884.50      $884.50        $884.50
1503 N. Frances St.                          $476.77       $476.77      $476.77        $476.77
881 E. 41st Street                          $2,321.27     $2,321.27    $2,321.27      $2,321.27
10113 S. Main                               $1,515.64     $1,515.64    $1,515.64      $1,515.64
Total Rental Property Expenses              $7,426.91     $7,426.91    $7,426.91      $7,426.91

Trustee Fees                                 $216.67       $216.67      $216.67        $216.67
Unsecured Creditors (Class 2B)              $2,348.72     $2,348.72    $2,348.72      $2,348.72

Personal Expenses
Home Rental                                 $1,100.00     $1,100.00    $1,100.00      $1,100.00
Utilities: Electricity and Heating Fuel       $50.00        $50.00       $50.00         $50.00
Water and Sewer                               $50.00        $50.00       $50.00         $50.00
Telephone, Cable, Internet                   $110.00       $110.00      $110.00        $110.00
Other Utilities                               $50.00        $50.00       $50.00         $50.00
Food                                         $700.00       $700.00      $700.00        $700.00
Clothing                                     $50.00        $50.00       $50.00         $50.00
Medical/Dental expenses                      $50.00        $50.00       $50.00         $50.00
Transportation                              $400.00       $400.00      $400.00        $400.00
Recreation, clubs, entertainment            $100.00       $100.00      $100.00        $100.00
Charitable contributions                     $50.00        $50.00       $50.00         $50.00
Insurance: Life                              $80.00        $80.00       $80.00         $80.00
Insurance: Auto                              $190.00       $190.00      $190.00        $190.00
Taxes (payroll)                             $2,955.82     $2,955.82    $2,955.82      $2,955.82
Total Personal Expenses                     $5,935.82     $5,935.82    $5,935.82      $5,935.82

Ending Cash                                 $4,458.52     $8,917.04    $13,375.56    $17,834.08
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 5       Month 6      Month 7       Month 8
Beginning Cash                              $17,834.08    $22,292.60   $26,751.12    $31,209.64

INCOME
Kaiser Permanente                           $9,145.79     $9,145.79    $9,145.79      $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00     $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00     $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00     $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00       $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85     $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00     $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64    $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                        $1,960.83     $1,960.83    $1,960.83      $1,960.83
9853-9855 Arabian Night St.                 $1,201.73     $1,201.73    $1,201.73      $1,201.73
9857-9859 Arabian Night St.                  $884.50       $884.50      $884.50        $884.50
1503 N. Frances St.                          $476.77       $476.77      $476.77        $476.77
881 E. 41st Street                          $2,321.27     $2,321.27    $2,321.27      $2,321.27
10113 S. Main                               $1,515.97     $1,515.97    $1,515.97      $1,515.97

Trustee Fees                                 $216.67       $216.67      $216.67        $216.67
Unsecured Creditors (Class 2B)              $2,348.72     $2,348.72    $2,348.72      $2,348.72

Personal Expenses
Home Rental                                 $1,100.00     $1,100.00    $1,100.00      $1,100.00
Utilities: Electricity and Heating Fuel       $50.00        $50.00       $50.00         $50.00
Water and Sewer                               $50.00        $50.00       $50.00         $50.00
Telephone, Cable, Internet                   $110.00       $110.00      $110.00        $110.00
Other Utilities                               $50.00        $50.00       $50.00         $50.00
Food                                         $700.00       $700.00      $700.00        $700.00
Clothing                                     $50.00        $50.00       $50.00         $50.00
Medical/Dental expenses                      $50.00        $50.00       $50.00         $50.00
Transportation                              $400.00       $400.00      $400.00        $400.00
Recreation, clubs, entertainment            $100.00       $100.00      $100.00        $100.00
Charitable contributions                     $50.00        $50.00       $50.00         $50.00
Insurance: Life                              $80.00        $80.00       $80.00         $80.00
Insurance: Auto                              $190.00       $190.00      $190.00        $190.00
Taxes (payroll)                             $2,955.82     $2,955.82    $2,955.82      $2,955.82
Total Personal Expenses                     $5,935.82     $5,935.82    $5,935.82      $5,935.82

Ending Cash                                 $22,292.60    $26,751.12   $31,209.64    $35,668.16
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 9       Month 10     Month 11      Month 12
Beginning Cash                              $35,668.16    $40,126.68   $44,585.20    $49,043.72

INCOME
Kaiser Permanente                           $9,145.79     $9,145.79    $9,145.79      $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00     $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00     $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00     $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00       $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85     $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00     $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64    $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                        $1,960.83     $1,960.83    $1,960.83      $1,960.83
9853-9855 Arabian Night St.                 $1,201.73     $1,201.73    $1,201.73      $1,201.73
9857-9859 Arabian Night St.                  $884.50       $884.50      $884.50        $884.50
1503 N. Frances St.                          $476.77       $476.77      $476.77        $476.77
881 E. 41st Street                          $2,321.27     $2,321.27    $2,321.27      $2,321.27
10113 S. Main                               $1,515.97     $1,515.97    $1,515.97      $1,515.97

Trustee Fees                                 $216.67       $216.67      $216.67        $216.67
Unsecured Creditors (Class 2B)              $2,348.72     $2,348.72    $2,348.72      $2,348.72

Personal Expenses
Home Rental                                 $1,100.00     $1,100.00    $1,100.00      $1,100.00
Utilities: Electricity and Heating Fuel       $50.00        $50.00       $50.00         $50.00
Water and Sewer                               $50.00        $50.00       $50.00         $50.00
Telephone, Cable, Internet                   $110.00       $110.00      $110.00        $110.00
Other Utilities                               $50.00        $50.00       $50.00         $50.00
Food                                         $700.00       $700.00      $700.00        $700.00
Clothing                                     $50.00        $50.00       $50.00         $50.00
Medical/Dental expenses                      $50.00        $50.00       $50.00         $50.00
Transportation                              $400.00       $400.00      $400.00        $400.00
Recreation, clubs, entertainment            $100.00       $100.00      $100.00        $100.00
Charitable contributions                     $50.00        $50.00       $50.00         $50.00
Insurance: Life                              $80.00        $80.00       $80.00         $80.00
Insurance: Auto                              $190.00       $190.00      $190.00        $190.00
Taxes (payroll)                             $2,955.82     $2,955.82    $2,955.82      $2,955.82
Total Personal Expenses                     $5,935.82     $5,935.82    $5,935.82      $5,935.82

Ending Cash                                 $40,126.68    $44,585.20   $49,043.72    $53,502.24
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 13      Month 14     Month 15      Month 16
Beginning Cash                              $53,502.24    $57,960.76   $62,419.28    $66,877.80

INCOME
Kaiser Permanente                           $9,145.79     $9,145.79    $9,145.79      $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00     $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00     $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00     $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00       $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85     $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00     $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64    $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                        $1,960.83     $1,960.83    $1,960.83      $1,960.83
9853-9855 Arabian Night St.                 $1,201.73     $1,201.73    $1,201.73      $1,201.73
9857-9859 Arabian Night St.                  $884.50       $884.50      $884.50        $884.50
1503 N. Frances St.                          $476.77       $476.77      $476.77        $476.77
881 E. 41st Street                          $2,321.27     $2,321.27    $2,321.27      $2,321.27
10113 S. Main                               $1,515.97     $1,515.97    $1,515.97      $1,515.97

Trustee Fees                                 $216.67       $216.67      $216.67        $216.67
Unsecured Creditors (Class 2B)              $2,348.72     $2,348.72    $2,348.72      $2,348.72
Personal Expenses
Home Rental                                 $1,100.00     $1,100.00    $1,100.00      $1,100.00
Utilities: Electricity and Heating Fuel       $50.00        $50.00       $50.00         $50.00
Water and Sewer                               $50.00        $50.00       $50.00         $50.00
Telephone, Cable, Internet                   $110.00       $110.00      $110.00        $110.00
Other Utilities                               $50.00        $50.00       $50.00         $50.00
Food                                         $700.00       $700.00      $700.00        $700.00
Clothing                                     $50.00        $50.00       $50.00         $50.00
Transportation                              $400.00       $400.00      $400.00        $400.00
Medical/Dental expenses                      $50.00        $50.00       $50.00         $50.00
Recreation, clubs, entertainment            $100.00       $100.00      $100.00        $100.00
Charitable contributions                     $50.00        $50.00       $50.00         $50.00
Insurance: Life                              $80.00        $80.00       $80.00         $80.00
Insurance: Auto                              $190.00       $190.00      $190.00        $190.00
Taxes (payroll)                             $2,955.82     $2,955.82    $2,955.82      $2,955.82
Total Personal Expenses                     $5,935.82     $5,935.82    $5,935.82      $5,935.82

Ending Cash                                 $57,960.76    $62,419.28   $66,877.80    $71,336.32
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 17      Month 18     Month 19       Month 20
Beginning Cash                              $71,336.32    $75,794.84   $80,253.36     $84,711.88
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $75,794.84    $80,253.36   $84,711.88     $89,170.40
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 21      Month 22     Month 23      Month 24
Beginning Cash                              $89,170.40    $93,628.92   $98,087.44    $102,545.96
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $93,628.92    $98,087.44   $102,545.96   $107,004.48
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 25    Month 26    Month 27         Month 28
Beginning Cash                              $107,004.48 $111,463.00 $115,921.52      $120,380.04
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $1,860.00     $1,860.00    $1,860.00     $1,860.00

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $111,463.00 $115,921.52 $120,380.04      $124,838.56
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 29    Month 30    Month 31         Month 32
Beginning Cash                              $124,838.56 $129,297.08 $133,755.60      $138,214.12
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $129,297.08 $133,755.60 $138,214.12      $142,672.64
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 33    Month 34    Month 35         Month 36
Beginning Cash                              $142,672.64 $147,131.16 $151,589.68      $156,048.20
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $1,860.00     $1,860.00    $1,860.00     $1,860.00

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $147,131.16 $151,589.68 $156,048.20      $160,506.72
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 37    Month 38    Month 39         Month 40
Beginning Cash                              $160,506.72 $164,965.24 $169,423.76      $173,882.28
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $164,965.24 $169,423.76 $173,882.28      $178,340.80
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 41    Month 42    Month 43         Month 44
Beginning Cash                              $178,340.80 $182,799.32 $187,257.84      $191,716.36
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97
Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $182,799.32 $187,257.84 $191,716.36      $196,174.88
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 45    Month 46    Month 47         Month 48
Beginning Cash                              $196,174.88 $200,633.40 $205,091.92      $209,550.44
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $200,633.40 $205,091.92 $209,550.44      $214,008.96
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 49    Month 50    Month 51         Month 52
Beginning Cash                              $214,008.96 $218,467.48 $222,926.00      $227,384.52
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $218,467.48 $222,926.00 $227,384.52      $231,843.04
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 53    Month 54    Month 55         Month 56
Beginning Cash                              $231,843.04 $236,301.56 $240,760.08      $245,218.60
Income
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $236,301.56 $240,760.08 $245,218.60      $249,677.12
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Chapter 11 DEBTOR PROJECTIONS

PROJECTIONS                                  Month 57    Month 58    Month 59         Month 60
Beginning Cash                              $249,677.12 $254,135.64 $258,594.16      $263,052.68

INCOME
Kaiser Permanente                            $9,145.79     $9,145.79    $9,145.79     $9,145.79
RENTAL INCOME
20535 Kenwood Avenue                        $1,800.00     $1,800.00    $1,800.00      $1,800.00
9853 Arabian Knights                        $1,310.00     $1,310.00    $1,310.00      $1,310.00
9857 Arabian Knights                        $1,275.00     $1,275.00    $1,275.00      $1,275.00
1503 N. Frances St.                          $695.00       $695.00      $695.00        $695.00
881 E. 41st Street                          $3,800.85     $3,800.85    $3,800.85      $3,800.85
10113 S. Main                               $2,360.00     $2,360.00    $2,360.00      $2,360.00
TOTAL CASH INCOME                           $20,386.64    $20,386.64   $20,386.64     $20,386.64
EXPENSES
Rental Property Expenses
20535 Kenwood Avenue                         $1,960.83     $1,960.83    $1,960.83     $1,960.83
9853-9855 Arabian Night St.                  $1,201.73     $1,201.73    $1,201.73     $1,201.73
9857-9859 Arabian Night St.                   $884.50       $884.50      $884.50       $884.50
1503 N. Frances St.                           $476.77       $476.77      $476.77       $476.77
881 E. 41st Street                           $2,321.27     $2,321.27    $2,321.27     $2,321.27
10113 S. Main                                $1,515.97     $1,515.97    $1,515.97     $1,515.97

Trustee Fees                                  $216.67       $216.67      $216.67       $216.67
Unsecured Creditors (Class 2B)               $2,348.72     $2,348.72    $2,348.72     $2,348.72

Personal Expenses
Home Rental                                  $1,100.00     $1,100.00    $1,100.00     $1,100.00
Utilities: Electricity and Heating Fuel        $50.00        $50.00       $50.00        $50.00
Water and Sewer                                $50.00        $50.00       $50.00        $50.00
Telephone, Cable, Internet                    $110.00       $110.00      $110.00       $110.00
Other Utilities                                $50.00        $50.00       $50.00        $50.00
Food                                          $700.00       $700.00      $700.00       $700.00
Clothing                                      $50.00        $50.00       $50.00        $50.00
Medical/Dental expenses                       $50.00        $50.00       $50.00        $50.00
Transportation                               $400.00       $400.00      $400.00       $400.00
Recreation, clubs, entertainment             $100.00       $100.00      $100.00       $100.00
Charitable contributions                      $50.00        $50.00       $50.00        $50.00
Insurance: Life                               $80.00        $80.00       $80.00        $80.00
Insurance: Auto                               $190.00       $190.00      $190.00       $190.00
Taxes (payroll)                              $2,955.82     $2,955.82    $2,955.82     $2,955.82
Total Personal Expenses                      $5,935.82     $5,935.82    $5,935.82     $5,935.82

Ending Cash                                 $254,135.64 $258,594.16 $263,052.68      $267,511.20
